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                                                                      UNITED STATES DISTRICT COURT
                                          9
                                                         CENTRAL DISTRICT OF CALIFORNIA - EASTERN DIVISION
                                         10
                                              STEVE HOBB,                              Case No.: 5:16-cv-01352 AB (JCx)
                                         11
                                                                    Plaintiff,         Complaint Filed: June 23, 2016
                                         12                                            FAC Filed: August 8, 2016
                                                       v.
                                         13                                            DEFENDANT ALEX DIAZ’S
                                              CITY OF BANNING, a public                APPENDIX OF EVIDENCE IN
                                         14   and/or municipal corporation;            SUPPORT OF ITS MOTION FOR
6033 West Century Boulevard, 5th Floor




                                              BANNING POLICE                           SUMMARY JUDGMENT OR, IN THE
  LIEBERT CASSIDY WHITMORE




                                         15
   A Professional Law Corporation




                                              DEPARTMENT, a public agency              ALTERNATIVE, SUMMARY
    Los Angeles, California 90045




                                              and/or municipal corporation; ALEX       ADJUDICATION OF ISSUES
                                         16   DIAZ, individually and as Police         (VOLUME 2 OF 4 – EXHIBIT 8)
                                              Chief; DON PETERSON,
                                         17   individually; and DOES 1
                                              THROUGH 10,                              Trial Date:           January 16, 2018
                                         18                                            Final Pretrial Conf.: December 18, 2017
                                                                    Defendants.        Discovery Cut-Off: August 18, 2017
                                         19
                                         20                                            Date:    September 22, 2017
                                                                                       Time:    10:00 a.m.
                                         21                                            Courtroom: 7B
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                                                                                   DEFENDANT ALEX DIAZ’S APPENDIX OF EVIDENCE
                                              8259397.1 BA060-035
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                             EXHIBIT 8
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                ADMINISTRATIVE INVESTIGATION

             PREPARED FOR THE BANNING POLICE

                              DEPARTMENT

                                  IA # 15-04

                              November 27, 2015




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                          SECTION 1
          INTRODUCTION AND SUMMARY




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                                       SECTION 1
INTRODUCTION

RCS Investigations and Consulting was retained by the City of Banning to conduct an administrative
investigation regarding allegations of potential misconduct against Banning Police Corporal Steve Hobb.
In August 2015, the Banning Police Department received two complaints via e-mail regarding conduct
by Hobb which occurred on July 30, 2015. Briefing training was scheduled for that day and
representatives from the Riverside County Sexual Assault Response Team [SART] arrived and provided
sexual assault response training to officers from the Banning Police Department.

The complaints alleged that Corporal Hobb was rude, discourteous and unprofessional to the SART
Team members who provided the briefing training.

Based on the complaints received, RCS Investigators deemed Corporal Hobb a subject employee and
identified the following possible allegations of misconduct:

Allegation "1"— It was alleged that Corporal Hobb was discourteous to SART Team members, who
provided training at the Banning Police Department on July 30, 2015.

Allegation "2" - It was alleged that Corporal Hobb demonstrated unbecoming conduct and poorly
represented the Banning Police Department during his interaction with SART Team members, who
provided training on July 30, 2015.

RCS Investigations and Consulting was retained to conduct a neutral and fair investigation on behalf of
the City of Banning regarding allegations of misconduct against Corporal Hobb. Various documents
were reviewed including policy sections, personnel complaints, call logs and patrol shift bulletins. Each
of the documents and other relevant material was reviewed'and interviews were conducted as part of the
work product of the investigation.

SUMMARY

The Banning Police Department has policies in place which were established in-part, as an equitable and
uniform procedure for dealing with personnel matters. RCS Investigators reviewed and considered the
following Banning Police Department Policy Manual sections as part of the work product of this
investigation;

338.3.2 CONDUCT

(k) Discourteous, disrespectful or discriminatory treatment of any member of the public or any member
of this department.




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338.3.5 PERFORMANCE

(aa) Any other on-duty or off-duty conduct which any employee knows or reasonably should know is
unbecoming a member of the Department or which is contrary to good order, efficiency or morale, or
which tends to reflect unfavorably upon the Department or its members.

The Banning Police Department Policy Manual sections are included as Exhibit "A" in this report.

RCS Investigators reviewed a complaint sent via e-mail to Chief Alex Diaz by Nicole Yadon, S.A.R.T.
Program Coordinator for Rancho Springs Medical Center. The e-mail was sent on August 3, 2015 and
contained the following verbatim information:
Good morning, I am the SART Coordinator out of Rancho Springs Medical Center in Murrieta. Myself
along with other members of our team from Riverside County Regional Medical Center and Riverside
Area Rape Crisis were scheduled to provide annual SART training on Thursday July 30 at 1600. Upon
arrival we were not so pleasantly greeted by an officer named "Hobb". He was extremely rude and
seemed somewhat annoyed attempting to argue with us stating that we had just provided this training a
few months ago. Our team provides this training once a year, during the summer months. After we
informed him that this training was set up by you, he proceeded to roll his eyes, huff and very rudely
direct us down the stairs. All of our team felt extremely uncomfortable during this presentation due to
his demeanor and body posture while we were presenting. Once finished, we were told to let ourselves
out, and had to roam through halls until we found the exit. I am sure that this is not the way your
department should be represented. I felt that it was important you were aware of this, as our goal is to
build relationships with Law Enforcement for the benefit of our victims. If you have any questions,
please feel free to contact me via cell. Thank you for your time. Nicole D. Yadon
A copy of the complaint is included as Exhibit 93" in this report.

RCS Investigators 'reviewed a complaint sent via e-mail to Chief Diaz by Debora Monroe Heaps,
Director of Programs for the Riverside Area Rape Crisis Center. The e-mail was sent on August12,
2015 and contained the following verbatim information:
Chief Diaz,
The Western Riverside County Sexual Assault Team annually schedules our briefing trainings. We
provide training to all. Law Enforcement agencies in our service area-south to Temecula, west to
Corona, east to Cabazon and surrounding areas. It is coordinated by the Riverside Area Rape Crisis
Center and the advocacy program, the forensic nurse from Riverside County Regional Medical Center,
and a district attorney take time to provide training in assisting first responders in sexual assault
response. We were grateful that you scheduled us and know you felt it is important to your Team to have
this training. The professionals that provide the training are taking professional time to meet the needs
of this critical collaboration.

On July 30, 2015 at 4PM our advocate Vivian A, forensic nurses from both County and Rancho Springs
hospitals and a District Attorney were prepared for training. They were greeted in an unprofessional
manner by an Officer Hobb. He complained that they had just received the training and didn't have time
for "this". Our team was very intimidated by his dismissive and rude manners even through the
presentation that he postured as without value and inconvenient.
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I received a call from the Manager of the Forensic Nurses Gloria Davis at Riverside County Medical
Center after her nurse complained about his treatment of the team. Our advocate also came to my office
and let me know about the poor way the SART Team was received by him.

It is our desire to form strong professional collaborations with all of the Law Enforcement agencies. The
sexual assault field is changing very rapidly at this time and our desire is for victims, our communities
and professionals to have the most updated and accurate information possible to investigate and gather
evidence for these horrible crimes. Thank you for Your attention in this matter. Sincerely Debora Heaps.

A copy of the complaint is included as Exhibit "C" in this report,

RCS Investigators reviewed an Internal Affairs 'Investigation notice provided to Corporal Hobb on
August 21, 2015, as well as notices on September 30, 2015 and October 9, 2015.

Copies of the notices are included as Exhibit "D" in this report.

RCS Investigators reviewed a partial call log for July 30, 2015 and noted 10 incidents between 4:00
and 5:00 P.M. RCS Investigators reviewed a partial shift bulletin for July 30, 2015. The bulletin
described significant incidents which occurred during the patrol shift. The bulletin listed only two
significant incidents between 4:00 and 5:00 p.m.; a mental disorder call at 4:Q3 p.m. [Incident #
1507300080] and a residential alarm call at 4:36 p.m. [Incident # 1507300088]. From the listed
documents, RCS Investigators were unable to determine the number, if any; calls that were pending
during the time SART Team members interacted with Corporal Hobb and conducted briefing
training.

Copies of the documents are included as Exhibit "E" in this report.
Interview of Debora Monroe-Hem

On September 17, 2015, RCS Investigator Flutts conducted a telephone interview with Debora Monroe
Heaps. The interview was recorded and a transcript is included as Exhibit "F" in this report. The
following is a synopsis of the interview.

Debora Heaps is the Director of Programs for the Riverside Area Rape Crisis Center and when asked to
describe her job duties she replied, "We provide services to sexual assault victims and their family
members. So we provide hot lining, advocacy, in-person counseling for court groups, accompaniment
for victims of crimes specifically sexual assault to all age groups and also we provide primary
prevention education to all ages as well, young people all the way to the elderly or seniors, and I oversee
both of those departments."

Debora Heaps continued, "I also oversee our volunteer program and I have a responsibility to also
network with the community at the administrative level. I also write grants for funding reasons. We're a
non-profit 501(c) (3) and I also monitor those grants." Heaps was asked if a training session was
scheduled at the Banning Police Department on July 30, 2015, and she said there was. Heaps was asked
how her organization was involved with that training program and she replied, "The Riverside Area
Rape Crisis Center has been providing briefing training to first responders at all law enforcement
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agencies in our service area which includes west to Corona, south to Temecula, and east to Cabazon,
Banning Police Department being one of the agencies that we provide advocacy for sexual assault
victims to."

Debora Heaps was asked if that training was provided to a number of law enforcement agencies and she
replied, "Yes, we provide annual training unless there is a station that needs additional training, usually
if they've had a big influx in staffing that they want more training, and we spearhead that for as long as I
can remember when I got here, we provide these services and that's been, I've been working here over
20 years. So it was our responsibility to contact the law enforcement agencies and to schedule these
trainings."

Debora Heaps continued, "Then after a while, after I'd been doing that for quite some while, I know the
procedures of the forensic examiners, the nurses, I understand the district attorney, we network very well
with him, and also law enforcement, we understand what their role is in providing services to sexual
assault victims. I thought it would be wonderful if we could get the forensic nurses and the district
attorney also to come to the briefing trainings so we had all four disciplines under the same roof... That
particular day, a district attorney could not make it."

Debora Heaps was asked if her organization coordinated with all the presenters for the July 30, 2015,,
session scheduled at the Banning Police Department and she replied, "Yes, we first contact all the
agencies and schedule with them so, Chief Diaz coordinated with us and we scheduled through him and
then we in turn let the other team members know cause we call ourselves a SART team, a Sexual
Assault Response Team, and so we coordinated with the rest of the team to let them know the day of the
training."

Debora Heaps was asked if she personally set up the training session at the Banning Police Department
with Chief Diaz or if someone under her direction. She replied, "It was someone under my direction. It
was either Vivian An ezquita or it was Rachel McDonald, one of our Community Education Presenters.
It is their responsibility to get these scheduled. They are Community Education Presenters." Heaps was
asked who was, present at the Banning Police Department session and she said, "Representing our
agency, it was Vivian Arnezquita."

Debora Heaps was asked if Nicole Yadon was present and she replied, "Yes, Nicole Yadon is the SART
Manager for Rancho Springs Medical Center." Heaps indicated Sharleen Lampkin, a SART forensic
nurse at the Riverside County Regional Medical Center in Moreno Valley was also present. Heaps was
asked if she became aware there were problems with the training session at some point and she stated
she did.

Debora Heaps stated she became aware of the problems when she received a call from the SART
Manager 'of Riverside County Regional Medical Center, Gloria Davis. Heaps acknowledged Davis was
one of the forensic nurses at Riverside County Regional Medical Center in Moreno Valley. Heaps was
asked what Davis told her and she replied, "She said that the night before at Banning that, Sharleen had
called her and told her that the team had been treated very disrespectfully and was not received well by
the Banning Police Department."



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Debora Heaps continued, "She also said that perhaps we have to rethink this and maybe make a video so
that maybe they can just push it in for training reasons. She said that this was a big sacrifice to her team
to do these trainings in person every day for many months, for two months we'd been doing them, it
takes a lot of time and if the law enforcement agencies axe not getting anything out of them or don't
want us there or not appreciative, that we may have to rethink it."

Debora Heaps was asked in her experience, if the training sessions had been presented in person for a
number of years and she said they had been conducted in that manner for the past 20 years. Heaps was
asked if Gloria Davis provided names of any employees at the Banning Police Department and she said
it was Officer Hobbs. Heaps was asked if Davis provided any details as to what type of behavior Hobbs
was engaged in and she replied, "Sharleen said to her, who, Gloria is Sharleen's manager, that he was
dismissive, that he was rude, that he rolled his eyes at them, that he said they didn't have time for this
stuff, that they had already had a training recently in this and they didn't need it and it was an
inconvenience to them."

Debora Heaps was asked if the training session was completed and she replied, "Yes, he did in a very,
like I have to do it type way, disrespectful way. He took them back to the briefing room and they
conducted the training and it was reported to me through Gloria Davis that he just rolled his eyes, he
postured disrespectfully and was hostile." Heaps was asked if there was a certain time of year when the
training took place and she said it was during the summer. Heaps was asked to estimate how many
agencies her organization served and she said 12 agencies in the western Riverside County area.

Debora Heaps was asked if she indicated earlier the person from the District Attorney's office was not
present during the training session on July 30, 2015, and she replied, "Yes, they don't always make a
hundred percent of them. It is on a voluntary basis that their DA's come up and it depends on their day
of, in trials and on that particular day, we don't get a hundred percent participation with them but they
do the best they can. I had already been to Banning Police Department personally for one of the briefing
trainings and a DA was there that day but not this particular day."

Debora Heaps was asked when that training occurred and she replied, "I'm trying to see when that one
was on my calendar. We did not end up conducting it or completing it because there had been a report of
a bomb in a mailbox and they had to go out and respond to that. It is a very small agency so we totally
understood that it took their officers out there to protect the community. It was earlier in the month I
believe... the date that I went there was July the 27th, the Monday before this happened."

Debora Heaps continued, "To answer your question, yes, Nicole is normally at all the briefing trainings
representing the agency. Once in a while she may have one of her forensic nurses do it. Sharleen is one
of the SART nurses and all of the SART nurses and the manager take turns from Riverside County
Regional Medical Center." Heaps acknowledged there was a group that conducted the training on a
regular basis and added, "All the nurses know about it at both hospitals. Our agency of course is well
aware of it, the district attorney is well aware of it, and then of course Rancho Springs is well aware of
it. We've been doing this many years."

Debora Heaps was asked if the training session scheduled for Banning .on July 27, 2015, was cancelled
due to an incident they had in the City and she said it was. Heaps was asked if she became aware at
some point that Nicole Yadon sent an e-mail complaint to the police department after the training

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 session on July 30, 2015 and she replied, "Yes, the very following week, she cc'd me an e-mail that she
 sent to Chief Diaz." Heaps was asked if the e-mail was dated Monday, August 3, 2015, and she said,
 "That sounds right, she reacted a lot faster than I did."

 Debora Heaps was asked if she spoke to anyone other than Gloria Davis from the time she found out
 about the issues and the e-mail she was copied on from Nicole Yadon. She replied, "Yes, on Monday
 morning Vivian, my staff person who was there came into my office on Monday morning." Heaps was
 asked if Vivian Amezquita described in essence what she said earlier in the interview and she indicated
 it was the same information Davis conveyed to her. Heaps was asked if similar problems occurred at
 other police departments in the past and she said they had not.

 Deborah Heaps added, "I mean once in a while they'll say we weren't expecting you or we forgot or we
 have had an unusual, we were talking about it, an unusual amount of cancellations this time that when
 we get there and there's an emergency. We had someone that was jumping off the bridge over the 215,
 we had a police officer that was attacked, we had an officer related shooting this year, and then we also
 had the bomb scare up at Banning. So they, they get rescheduled."

 Deborah Heaps was asked the typical length of the training session and she replied, "They can last
 anywhere from, they average about a half an hour. They could end a little bit earlier than that or some of
 them, there's so many questions and participation that it can go almost to an hour. But that's excessive.
 I think an hour, not excessive but that's on the longer end." Heaps was asked aside from receiving
 Nicole Yadon's e-mail, if she ever spoke to her regarding the incident and she said she did.

 Debora Heaps was asked when her conversation with Nicole Yadon occurred and she replied, "I think
 we ended up speaking shortly after I got her e-mail. I also talked to her when I sent my e-mail and
 received an immediate response from Chief Diaz. I felt that would be helpful for her too cause she had
 not heard, I don't think she had heard from them or .she had just heard from them and, so this is Chief
 Diaz, I wanted to let her know that I had received a response from him. I sent that on the 13th I believe.
 So I must've talked to her on the 14th "

 Debora Heaps was asked if her e-mail was dated Wednesday, August 12, 2015, and she said it was.
 Heaps was asked if Nicole Yadon provided details about the actual event during that conversation and if
 they were consistent with what she already heard. She replied, "Well I had already read her e-mail and
 when I read her e-mail, she sent it at 8:22, my staff person had already been in my office. So at 8:00 in
 the morning, so, and I did not, I stayed quiet because I wanted my staff person to be able to say it in her
 words and not to be influenced by anything that I had heard or that, from Gloria on Friday. Then I
 opened up my, she'd come immediately into my office after 8:00 a.m. so then when I opened up my e-
 mails, there had been an e-mail from Nicole at 8:22 a.m."

 Debora Heaps continued, "When I opened up my e-mail, then I saw that she in fact had sent an e-mail to
 Banning Police Department." Heaps confirmed she personally spoke to Vivian Amezquita, Nicole
 Yadon and Gloria Davis regarding the actual incident. Heaps was asked if she spoke with anyone else
 and she said she heard about Sharleen Lampkin's experience through her supervisor. Heaps was asked
 if she indicated earlier that she sent an e-mail to Chief Diaz on August 12, 2015, and she confirmed she
 did.


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Debora Heaps was asked if she spoke to Chief Diaz at some point after sending the e-mail and she said
she did. Heaps was asked to describe that conversation and she replied, "It was quite some time after
the e-mail. It wasn't, it was a little while after it... I sent my e-mail directly to him; I didn't know who
Nicole sent her e-mail to. I acted on my own and on August the 12th, because I had wanted to think
about it for a while and know what I wanted to say."

Debora Heaps continued, "We cherish our partnerships and our collaborations with law‘enforcement and
we don't, I personally did not want to look like, to sound like we were complaining. I try and do this in a
very professional way. We respect the responsibility of law enforcement and what they do to protect our
community and how they help survivors of sexual assault and I wanted to make sure and word this
correctly. So it took me some time to put my thoughts together on this but I did send it on August the
12th at 5:08 p.m. He responded immediately, he responded in two minutes."

Debora Heaps acknowledged there was a delay with respect to Nicole Yadon receiving a response from
Chief Diaz, because her e-mail was sent to his assistant and she was out of town. Heaps indicated Diaz
called her shortly after she sent the e-mail and they had a good conversation. Heaps added, "He had
already received my e-mail but he wanted to again personally speak with me and apologize about what
happened and he wanted me to know that he was not okay with this type of behavior and that it would
not be tolerated."

Debora Heaps continued, "He felt really bad because he said he had just left before they got there and
that he felt bad that he had not greeted them. I said well, I'm a supervisor too and when I leave my office
the staff has a responsibility to be professional when I'm not here. I also said that I remember having a
conversation about I'm, it was unfortunate he, that the professionals were treated this way but I'm glad
that it was the professionals and not the community because this could've been very problematic in the
community as well, if he treats people like this."

Debora Heaps further stated, "I basically said that this could be a liability for someone to treat
professionals and the community like this, and that's why I shared it with him to protect his agency."
Heaps was asked if she had anything further to add and she replied, "Well, I just told him also, I did not
know his rank, I did not know Officer Hobb's rank and I did share with him that I didn't know that but
that if he was a man of seniority or rank, that his behavior and posturing on these types of trainings
might influence the less experienced officers and that it could discredit the training."

Debora Heaps added, "He was very, very grateful that we come. He said they were a small agency and
cannot afford a lot of outside training, so they are always grateful that we come. There is a ton of new
information in regards to sexual assault right now. It is changing very quickly and it's imperative that
those who axe responding to this crime or these types of crimes, know what to do and how to give the
community good information... he was very grateful that we come out and we update them on a regular
basis."

Interview of Vivian Amezouita

On September 23, 2015, RCS Investigator Fluffs conducted an interview with Vivian Aniezquita. The
interview was recorded and a transcript is included as Exhibit "G" in this report. The following is a
synopsis of the interview.

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Vivian Amezquita is the Community Educator for the Riverside Area Rape Crisis Center. Amezquita
was asked if she responded to various agencies and other locations to provide presentations and she said
she did. Amezquita was asked if she participated in a training session at the Banning Police Department
on July 30, 2015, and she stated she did. Amezquita said she and two others conducted the training.

Vivian Amezquita was asked who assisted her with the training and she replied, "Nicole and Sharleen.
Nicole is from the Rancho Springs Medical Center; she's a nurse there and a SART nurse. And Sharleen
is from RUMC here in Moreno Valley, she's also a SART nurse from there." Amezquita confirmed she
was referring to Riverside University Medical Center. Amezquita was asked if she provided that type of
training to other law enforcement agencies in the past and she said she did. Amezquita was asked if she
ever presented the training for the Banning Police Department and she said she did last year. Amezquita
confirmed she typically provided training to agencies on a yearly basis.

Vivian Amezquita was asked to describe what occurred when she !arrived to conduct the training at the
Banning Police Department that day and she replied, "We arrived, we let the person at the front desk
know that we were there and they said they were gonna let someone know to come out and get us. The
officer came out and he asked us what we were doing there and we explained that we were there for our
SART training, our yearly SART training. He said well, we just had some nurses here like a couple
months ago doing this training."

Vivian Amezquita continued, "We said well, that's not possible. Nicole was responding this time, she
said that's not possible because we are the only nurses that provide this training and we were here last
year, it's a yearly thing. And he said no, there were nurses here not too long ago and we already had this
training. He asked us for our other contact, which was my position to respond, that it was Alex Diaz.
He said oh, that's sergeant, rolled his eyes and said, come inside." Amezquita confirmed the officer
questioned her as to who set up the training and who the contact person at the police department was.
Vivian Amezquita was asked if her organization was responsible for setting up the training and she
replied, "Yes, yes, we do. We do all the calling, and I looked in my phone and that's Alex Diaz and he
said, oh, that's sergeant, rolled his eyes, said alright, come inside." Amezquita was asked if she recalled
the name of the officer she spoke to that day and she said she did not. Amezquita was asked if she knew
what the officer was referring to when he made the comment "that's a sergeant" when she mentioned the
name Alex Diaz and she said she did not. Amezquita was asked if she knew Diaz' position at the police
department and she said he was the Chief of Police.

 Vivian Amezquita was asked to describe the officer's demeanor at that point and she replied, "I think the
 thing that mostly made us realize that there was something wrong was he was mad that we were there,
 and I think we always get those questions; what are you doing here; what can I help you with. But he
 was upset at the fact that we were there and that's what caused the awkwardness, the tension, and when
 we walked into the room, you could feel the tension. So we thought maybe the problem was with
 everybody and that we were there and so it was really hard to present."

 Vivian Amezquita confirmed the officer who initially greeted them in the lobby was obviously angry.
 When asked to describe what she based that opinion on Amezquita replied, "By the way that he was
 saying things. He said well, what are you guys doing here, it wasn't just like a normal, well how can I
 help you, you know. It was more of like, well the attitude. It was the attitude that he was giving and

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   that's when we all kind of looked at each other and we, we noticed that he was mad. I was nervous
   trying to find the name of the contact because I thought maybe we did make a mistake and we weren't
, supposed to be there. But I had it on my calendar, it said Alex Diaz, that's my contact, and that's when
   he let us in."

  Vivian Amezquita was asked if she knew how far in advance the training session bad been scheduled
  and she replied, "We schedule it from one to two months ahead of time. So it should've been at least a
  month." Amezquita was asked if the officer escorted them inside the building and she said they were
  escorted to the briefing room. Amezquita was asked where the briefing room was located in relation to
  the lobby and she explained, "You walk through the door and there's a couple turns that you have to
  make and then it's the briefing room. When you get out, it's a lot more complicated. We were lost when
  we got out but when going in, he led us in, so it's a lot easier to follow him in."

  Vivian Amezquita was asked how many officers and or employees were present at the time and she said,
  "I believe there were about four or five in there." Amezquita acknowledged everyone was wearing a
  police uniform. Amezquita was asked what tirne the training was scheduled to begin and she said 4:00
  p.m. Amezquita said she felt obvious tension when she walked into the room and when asked what she
  meant by that she replied, "When we walked in they looked at us but would not make eye contact and it
  looked like, it felt like they were kind of already maybe had known that we were coming and it was just
  this very awkward thing that we were walking into and no one wanted to give us eye contact."

  Vivian Amezquita continued, "We weren't greeted by anybody, we usually are, maybe we're just used
  to that. We weren't greeted by anybody. And the reason is because later on more officers walked in,
  there was one woman who did not have a uniform, she was just dressed professionally, and their attitude
  was a lot different to the people who were already in there. They were the only ones who asked us
  questions, who actually acknowledged us or whatever it was, but the people who were already in there
  did not at any point." Amezquita stated the training began approximately five minutes prior to the other
  people walking into the briefing room.

  Vivian Amezquita confirmed the female who entered the room was not in uniform and the males were
  all in uniform. Amezquita acknowledged eventually there were seven or eight people attending the
  training. When asked if it would be accurate to say she did not receive the same feeling from the last
  group of employees that entered the room as she did from the initial group, Amezqita said that was true.
  Amezquita was asked the length of the training and she said, "I'm gonna say about 15 minutes."

  Vivian Amezquita was asked if 15 minutes was the typical length for the training and she replied, "Yes,
  sometimes when it's all three of us going, it might go max 20 to 30 minutes if there's questions. But this
  one, 15, about 15 minutes, yes." Amezquita was asked if the people who joined the group had questions
  and she said, "Yes, the woman was the one that mostly, without the uniform, she was the one that
  mostly acknowledged us and asked us questions and clarified and that was it." Amezquita was asked if
  she had the impression the female was a police officer and she replied, "I wasn't sure what she was. I
  wanted to ask but I didn't, I don't know what she was."

  Vivian Amezquita was asked if she, Nicole Yadon and Sharleen Lampkin all presented segments of the
  training and she replied, "Yes, I go first and then the nurses go after me and they pick who goes first. I
  believe it was Sharleen who might've gone first before Nicole." Amezquita confirmed Yadon and

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Lampkin presented their portion of the training as well and the session was over in about 15 minutes.
Amezquita was asked what occurred at that point and she replied, "Well during our presentation, it was
the normal thing other than the same officer who had let us in, he was sitting at the front, very serious,
kind of just leaning back in his chair."

Vivian Amezquita continued, "The only thing that I did notice different from our usual is Sharleen
stuttering not really able to do any, much of her presentation. I don't think she said everything that she
was supposed to say and she did clarify on the way out that she didn't say everything she was supposed
to say because of her tension or her feeling that she just was not comfortable. She was... intimidated
was the word that she used," Amezquita confirmed Sharleen Lampkin told her afterward that she felt
intimidated.

Vivian Amezquita was asked if it was obvious that Sharleen Lampkin was having trouble with her
presentation and she replied, "She was stuttering and wasn't really saying much. She wasn't, she was
kind of looking down at her paper, didn't want to make eye contact, yes." Amezquita was asked if she
attended the training sessions with Lampkin in the past and she said she did. Amezquita was asked if
she had ever seen Lampkin act like that in the past and she said she never did and that it was out of
character for her.

Vivian Amezquita was asked if the initial officer they spoke to made any comments during the 15
minutes of the actual training session and she said he did not. Amezquita was asked if she indicated
earlier they became lost leaving the building and she replied, "We got lost because apparently there are
two different ways that you can get out, but one way you actually are at a dead end. So we had to find
our way and go right back around and try to find our way out. Usually we're led out so we're very used
to being, just escorted out of the room and everything, but we weren't this time so we kind of found our
way out eventually." Amezquita was asked if they were typically escorted out of the building after the
training was completed at other police agencies and she said they were always escorted out.

Vivian Amezquita was asked what occurred when the training session was completed and she replied,
"Some of them said thank you. The woman said thank you and we just said all right, thank you, and
since nobody stood up to lead us out, we just led ourselves out. We didn't even ask." Amezquita was
asked if the initial officer was seated at the front of the room and facing them during the training session
and she confirmed he was. Amezquita was asked if she faced the group when she gave her presentation
and she said she did.

Vivian Amezquita was asked if the initial officer said anything when the training was completed and she
replied, "I don't remember him saying anything, no." Amezquita was asked if anyone made any effort
to escort her anywhere and she said no one did. Amezquita was asked if anyone made any statements as
if they were going to escort her out, and she no one did.

Vivian Amezquita was asked her opinion regarding the manner in which she was treated that day and
she said, "I just thought it was very disrespectful because we had already agreed with someone above
this officer that we would be coming into their agency to present. I just thought that if he did have an
issue, which is fine, if you have an issue, that's great, but that he should've gone to his superior and not
directly to us because we were already in agreement. I just:think that the way that he treated us was not
fair because we were there as guests and we voluntarily, and giving this training to them for free. I just

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think that he could've done it differently if he had an issue and could've gone to his superior instead of
us."

Vivian Amezquita acknowledged the initial officer appeared angry that day. When asked how else she
would describe him she replied, "He just seemed very frustrated and I didn't think that maybe we were
the only issue, just seemed like he was just frustrated. But he seemed angry at our presence."
Amezquita was asked if she, Nicole Yadon and Sharleen Lampkin discussed what occurred after the
training session ended that day and she said, "Yes, all the way until we got outside to the parking area."

Vivian Amezquita continued, "Nicole was the first one that brought it up, like, what was that. And that's
how we all started discussing and Sharleen said that she didn't finish or say everything. That she kind of
forgot all the stuff that she was supposed to say. I said yeah, I was very, just quick to the point because I
just wanted to get out of there. And Nicole said the same thing, but Nicole made the point and said I'm
going to file a complaint because that was not okay." Amezquita was asked if they all drove separately
to the location and she said they did.

Vivian Amezquita was asked where she drove from that day and she said, "I think I might've come from
here, the office.' Amezquita confirmed Nicole Yadon's office was in Murrieta and Sharleen. Lampkin's
office was in Moreno Valley. Amezquita was asked if she reported the incident to anyone and she
replied, "Yes, first my Executive Director, Larry McAdara, as soon as I came into the office."
Amezquita was asked if she reported the incident to McAdara that same day and she said, "No, that was
actually the next day because I went home after that since our shift is over. So it was the next day."

Vivian Amezquita confirmed the training was on a Thursday and she reported it to Larry McAdara the
following morning. Amezquita was asked how McAdara responded and she replied, "I told him
everything. He of course was disappointed and he approved of the fact that Nicole was going to file a
complaint because Nicole had gotten the badge name and everything, or his name and he said that he
supported that and that we were gonna have to talk to our Director of Programs, which is Debora Heaps,
when she got back."

Vivian Amezquita continued, "Butt he was upset because again, we all go through the effort of malting
this training and of course he's gonna be upset when we're disrespected." Amezquita was asked if she
eventually spoke to the Director of Programs, Debora Heaps and she said, "Yes, I believe that must've
been Monday because she was gone that weekend." Amezquita was asked to describe that conversation
and she replied, "She had already gotten a call from, I believe she is a director over at the Moreno
Valley Hospital, so it's Sharleen's supervisor."

Vivian Amezquita continued, "So she had already gotten a call from Gloria Davis, is her name, and so
she already knew some of the details, but I let her know my side and what I had seen and she said yeah,
we're gonna be filing a complaint and she agreed to send an e-mail to Alex Diaz." Amezquita was
asked if it was her understanding that Debora Heaps eventually sent a complaint and she replied, "Yes,
she read me the e-mail before sending it because we were collaborating on that, so I could give her the
details of what I had experienced."

Vivian Amezquita was asked if Debora Heaps collaborated with her to ensure she had the correct
information and she acknowledged she did. Amezquita was asked if she ever actually saw the e-mail

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and she said Heaps shared it with her. Amezquita was asked if she had any further involvement after the
conversations with Heaps and she said she did not. Amezquita was asked if she ever spoke to Nicole
Yadon or Sharleen Lampldn about that and she said she did not. Amezquita acknowledged Heaps
informed her that Yadon also sent a complaint. Amezquita was asked if Sharleen Lampkin's supervisor,
Gloria Davis, contacted Heaps that weekend and she said she did. Amezquita was asked if she had
anything further to add and she said she did not.

Interview of Gloria Davis

On September 24, 2015, RCS Investigator Flutts conducted an interview with Gloria Davis. The
interview was recorded and a transcript is included as Exhibit "II" in this report. The following is a
synopsis of the interview.

Gloria Davis is employed with the Riverside Regional Medical Center in Moreno Valley as the Program
Manager of the Sexual Assault Response Team. Davis was asked to describe her job duties and she
replied, "I manage the program that is responsible for the care of sexual assault victims and child sexual
assault." Davis was asked if she supervised a number of SART nurses as part of her duties and she said
she did.

Gloria Davis was asked if she became aware of a training session scheduled at the Banning Police
Department on July 30, 2015 and she replied, "I did. I had requested that my day nurse, Sharleen
Lampkin, do the briefing. She called me immediately after she left Banning and was very upset at how
they were received at the briefing." Davis was asked if Lampkin was the only staff member of hers that
was involved in the training and she said she was.

Gloria Davis was asked if she knew the other individuals involved in the presentation and she replied, "I
believe that Nicole Yadon was present and there was also Vivian Amezquita from Riverside Area Rape
Crisis." Davis was asked if she became aware there was a problem at some point after the training and
she said, "It was immediately after the training, she called me on her way home and said she was upset
at how they were received."

Gloria Davis confirmed she was referring to Sharleen Lampkin. When asked what she specifically said
to her Davis replied, "She said when they arrived at the training the officer that came out asked what
they, when they arrived at the training, they called them, usually they'll call and somebody will come
out and escort them into the police briefing. Well, an officer came out and he said what are you guys
here for? One of them said what they were there for the briefing, and he said we don't have any briefing
scheduled today; I don't know what you guys are doing here. I'm kind of paraphrasing what she said."

Gloria Davis continued, "As I understand it, Vivian pulled out her phone and she says, well, let me
check and see who scheduled the appointment. And she looked on her phone and she said this was
scheduled by the Chief. And the officer rolled his eyes and he said this is a big waste of our time and I
don't know why, you guys were just here. You were here just like a few weeks or months ago. I don't
know why we have to go through this again. Vivian, I think it was Vivian, said oh, no, we only come
out once a year, we haven't been out here recently."



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Gloria Davis further stated, "Apparently he argued that point and then he said okay, I'll take you in and
just get it over with as quickly as you can. He kept looking at his watch and rolling his eyes and
muttering under his voice, this is just the biggest waste of time." Davis was asked if she received all of
that information from Sharleen Lampkin right after the training and she replied, "Yes. Right after the
training because she was upset."

Gloria Davis added, "So then she said when they went into the training that he sat down, he folded his
arms, he kept rolling his eyes and looking at his watch and he made her very uncomfortable. So she said
the other police officers that were there were very respectful, very nice, but it was that one particular
officer, she told me his name, I wanna say Hobbs or something like that, I can't remember offhand. But
she said he kept, just looking at his watch, rolling his eyes and just made the whole atmosphere very
uncomfortable and she said I felt very unwelcome there."

Gloria Davis was asked what she did after receiving the information from Sharleen Lampkin and she
replied, "I'm trying to remember what day of the week it was, I think it was like a Thursday or Friday, it
was towards the end of the week, and I really didn't address it until the following week. I was originally
gonna call the Chief myself and then I thought, I'm not the person that puts these trainings on; I should
go to the person that arranges them. So I called Debora Heaps, the director of the Riverside Area Rape
Crisis, and I relayed my nurse's comments and sentiment and I basically told Debora, for me to send my
nurse out there, I said it's very hard for scheduling because we have a very, very small department."

Gloria Davis continued, "This is not easy to send people to briefings. So to send my nurse to a briefing
where she's not welcome and the information is not welcome and they don't want her there, I said if
that's the case, then I'm not going to send another employee to Banning. I said you can schedule the
briefings, you can do them yourself, but I'm not wasting my resources at a facility that's not welcome to
hear what we're there to show to them."

Gloria Davis was asked if she sent Sharleen Lampkin as well as other employees to those training
sessions in the past and she replied, "Well, yes, we do it once a year and we send, I send, I go most of
the time but since Sharleen lives out in Banning, I said why don't you do the briefing and then from
there you can go home. So most of the time we do send a nurse, either myself or one of my staff to a
briefing and we go to all of the law enforcement agencies that do this briefing once a year." Davis was
asked if she personally experienced any problems similar to what Lampldn described and she said she
did not.

Gloria Davis was asked if she ever heard any of her staff members describe problems similar to that in
the past and she replied, "No, this is the first time we've ever had an issue at a briefing. Most of the time
they're very welcomed to hear the information because there's new officers that are constantly coming
in and out of the department and the whole purpose of the briefing is to help them know what to do and
what the process is to follow with sexual assault victims." Davis was asked if she discussed the incident
with anyone other than Debora Heaps and she said she did not. Davis was asked if she had anything
further to add and she said she did not.




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                 Sharleen         ldn

    On September 24, 2015, RCS Investigator Flutts conducted an interview with Sharleen Lampkin. The
    interview was recorded and a transcript is included as Exhibit "I" in this report. The following is a
    synopsis of the interview.

    Sharleen Lampkin is employed with the Riverside Regional Medical Center in Moreno Valley as a
    registered nurse. Lampkin was asked if she had a specific area of assignment and she said, "SART, the
    Sexual Assault Response Team." Lampkin was asked to describe her duties and she replied, "I do
    sexual assault exams for people that are brought in with that complaint. I testify for cases, I do some
    outreach in the community, we do briefings in police departments and schools and anything else."
    Sharleen Lampkin was asked if she participated in a training session at the Banning Police Department
    on July 30, 2015, and she said she did. Lampkin was asked her specific involvement in the training and
    she replied, "I was supposed to talk about the different things that the officers axe to do when they bring
    patients here for an exam, what they do prior to coming, calling us and such." Lampkin was asked if
    officers brought sexual assault victims to the Riverside Medical Center in Moreno Valley and she said
    they did.

    Sharleen Lampkin was asked to name the other presenters participating in the training that day and she
    replied, "I think that day there was Nicole from another facility down in. Rancho Springs. She's the
    coordinator down there, and someone from the Riverside Area Rape Crisis Center. I believe her name
    was Vivian, I can't remember for sure." Lampkin was asked if there were three presenters and she said
    there were.
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    Sharleen Lampkin was asked to describe what occurred after she arrived to conduct training that day and
    she replied, "Well we arrived there, we were waiting, we checked in with whoever met us at the window
    and we waited for a while. An officer, I can't remember his name, he came to the door, he wanted to
    know what we were there for because, he was like, you guys just came, we just had one of these
    trainings a week ago or a couple of weeks ago."

    Sharleen Lampkin continued, "I was like, no, that couldn't have been true because we were here earlier
    and we, earlier that week was our first training at Banning and we had gotten turned away because of
    some bomb threat. So we understood and we left. So this was our second training for the year, we do
    this annually. And so we told him that and he was like, no, you guys were just here a couple of weeks
    ago. We're like, we're pretty sure that we weren't. So he's like well, who sent you, who okayed this, and
    who set this up."

    Sharleen Lampkin further stated, "The Rape Crisis Center Coordinator, she looked up in her phone to
    see who set it up and she told him the name of the guy. He was like, huh, that's our boss. He was like
    how long is this gonna take, come on in. And we didn't, it was very awkward because we didn't feel
    welcome at all from him. The rest of the officers were very cordial when we went down there, they were
    responsive, they asked questions and were appropriate but he was very unhappy for us to be there and
    glared at us the whole time. We just kind of avoided eye contact with him."

    Sharleen Lampkin was asked how long they waited in the lobby after they arrived and she said,
    "Probably another 10 or 15 minutes after the time we were supposed to start." Lampkin indicated the

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training was scheduled to begin at either 3:00 or 4:00 p.m.; however, she could not recall which.
Lampkin was asked to describe the officer's demeanor during the initial contact at the lobby and she
said, "Irritated." Lampkin was asked if the officer appeared irritated at the fact they were there and she
replied, "Yeah, and not really, he did not really seem to 'want to listen to us."

Sharleen Lampkin confirmed she felt generally unwelcome by the officer and added, "The other
officers, they did not even seem to be aware of any of what was going on." Lampkin was asked if she
felt any type of tension or unwelcome type of demeanor from anyone else and she said, "No, just him."
Lampkin was asked if the officer eventually walked her into the building and she said he took them into
the briefing room.

Sharleen Lampkin was asked how many other officers or employees were present and she estimated 15
to 20 officers. Lampkin was asked if she proceeded to provide the training and she said they did.
Lampkin was asked if she, Nicole Yadon and Vivian Amezquita each had a segment of the training and
she confirmed they did. Lampkin was asked if the training was completed that day and she replied, "We
were able to complete it, we also gave the part for the District Attorney because we had some stuff from
them. The DA wasn't able to come."

Sharleen Lampkin confirmed usually a representative from the District Attorney's office would provide
training as well. Lampkin was asked the length of that training session and she said, "Probably no
longer than ten minutes. We were real, we were fast." Lampkin was asked if the training was shorter
than normal and she replied, "It's probably about average. Sometimes it goes a little bit longer or, I
mean, that's about average. But we were deliberately, we did not want to linger." Lampkin was asked
why and she explained, "Because he specifically asked, how long is this gonna take, so we felt like we
were a bother."

Sharleen Lampldn was asked other than the initial officer, if she had issues with any other employees
present that day and she said she did not. Lampkin was asked if there were any other interactions
between her, Nicole Yadon or Vivian Amezquita and the other employees and she said there were not.
Lampkin was asked if the officer she spoke to initially was present in the briefing room and she said,
"He was, he was seated, if I'm in the front looking towards him, he was over in the right corner, right in
front." Lampkin acknowledged the officer was seated to her right, facing her, towards the front of the
room.

Sharleen Lampkin was asked if all three presenters were at the front of the room together and she said
they were only at the front of the room for their particular segment of the training. Lampkin confirmed
when she gave her portion of the training, she was facing the group. Lampkin was asked if she observed
the initial officer's mannerisms during her presentation and she said she did not look at him. Lampkin
added, "I purposely did not look at him, I felt uncomfortable."

Sharleen Lampldn was asked if she presented training to other agencies prior to July 30, 2015 and she
said she did. Lampkin was asked if she ever had similar problems similar and she replied, "No. I've had
people look bored but nothing, everybody's been very polite." Lampkin was asked if she had any
further interaction with the initial officer after the training was completed and she said she did not.
Lampkin was asked if there were any issues while leaving the building that day and she said, "No,
someone else, I think, escorted us out. He didn't escort us out, someone else did."

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Sharleen Lampkin was asked if it was typical to be escorted out of the building when she was at
different agencies and she said it was. Lampkin was asked if the initial officer said anything else to her
or the other presenters and she said he did not. Lampkin was asked to summarize her general concerns
regarding what occurred that day and she replied, "1 guess when I got back, probably as soon as, all of
us were like, what the heck, because all of the three of us were kind of, we didn't understand where this
animosity was coming from. As soon as I got to my car I called my boss and Pm like, I felt very
unwelcome and very uncomfortable. That was like the worst briefing I've ever been to."


Sharleen Lampkin was asked if she, Nicole Yadon and Vivian Amezquita talked after the training was
over and she replied, "Yeah, just briefly on the way to the car. We were just like, what the heck. Yeah,
all of us were confused and, yeah, the same." Lampldn was asked if Gloria Davis was her boss and she
said she was. Lampkin confirmed she spoke to Davis right after the training ended. Lampkin was asked
if she described what occurred to Davis and she said, "Yeah, at that day, I can't remember the guy's
name. I knew his name then and I called her up. I'm like, his name is... whatever his name was, and
was like, I said I think Nicole's gonna call and say something. But I was like, I think you should too."

Sharleen Lampkin was asked if she was with Nicole Yadon when she said she was going to complain
and she said she was. Lampkin confirmed Yadon did not specifically indicate how she was going to
complain. Lampkin was asked if she spoke to Yadon about the incident after their conversation and she
replied, "No, no, I let Gloria, once I relayed it to Gloria; I let that out of my hands. I tried to stay out of
that." Lampkin acknowledged she had no further involvement with the matter.

Sharleen Lampkin was asked if she became aware of anyone sending complaints to the Banning Police
Department and she said she did not. Lampkin was asked if anything else occurred that day other than
what she described and she said nothing did. Lampkin was asked if she had anything further to add and
she said she did not.

Interview of Nicole Yadon

On September 28, 2015, RCS Investigator Flutts conducted an interview with Nicole Yadon. The
interview was recorded and a transcript is included as Exhibit "J" in this report. The following is a
synopsis of the interview.

Nicole Yadon is employed with the Rancho Springs Medical Center in Murrieta as a Sexual Assault
Coordinator. Yadon was asked to describe her job duties and she replied, "Yes, I manage a team of
forensic nurses who provide exams on sexual assault survivors as well as I perform the exams myself."
Yadon was asked if she was scheduled to participate in a training session at the Banning Police
Department on July 30, 2015 and she replied, "Yes, each summer we go out to all of the various
departments throughout Riverside County and provide just an annual in-service on our services along
with the Rape Crisis Center."

Nicole Yadon indicated she personally participated in providing training to multiple different police
departments for the past six years. Yadon was asked the names of the other presenters participating in
that training and she replied, "I'm trying to recall, I'm sorry, it's been a while. There was a nurse from

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Riverside County Regional Medical Center. I can't remember exactly which one; I think it was Sharleen
Lampkin. And then there was an advocate there from the Rape Crisis Center and I can't recall off the top
of my head who it was." Yadon confirmed she was one of the three presenters.

Nicole Yadon acknowledged that typically a representative from the District Attorney's office was
present as well; however, they did not attend that day. Yadon was asked if the three presenters each had
a certain segment of the training to present and she confirmed they did. Yadon was asked to describe
what occurred when she arrived to conduct the training on July 30, 2015 and she replied, "We were
waiting in the lobby; the other people from the advocacy and Riverside County were already there when
I got there and they had already approached the front counter and had told them why we were there."
Nicole Yadon continued, "Technically, once we tell them that we're there, we do have to wait a little
while. The officer and I don't even remember his name, I apologize, it's in my e-mail, wherever, I saw
that you have that. The officer came out and just told us that we had already been there to provide that
training just a few months ago. We told him that we had not, that this is an annual training that we had
actually been there on Monday of that week but had been canceled because there was another event that
was taking the officers out of the briefing."

Nicole Yadon further stated, "Briefing had been cancelled for that day. So he again said no, you guys
were just here a few months ago. And again, no we're the only SART team within the county and no one
has been here, we only do these in the summer. Anyway, he kind of bantered with us back and forth for
a few minutes in regards to the fact that we had already been there and we had in fact not. So he left and
went back into the Department and he came back out a few minutes later and wanted to know who had
scheduled the briefing training. And the advocate, I can't remember her name... Vivian was kind of
scrolling through her phone trying to look at her e-mails to see who had set up the briefing and
whatever, she mentioned, I believe it's Diaz."

Nicole Yadon added, "The officer then kind of rolled his eyes and huffed and said that was the chief that
did that and then said, hang on a second and then went back behind the, into the Department again and
then came back out a few minutes later and said follow me. Just very, he was very rude, very abrupt; we
were all kind of speechless. Nobody really wanted to talk at that point. So we followed him into the
back and once we got to the stairway he just pointed at the stairs and he said, it's downstairs. And so at
that point we went downstairs and kind of went into the first room that we saw that we assumed was the
briefing room."

Nicole Yadon. continued, "There were a couple other officers sitting in the room when we got in there.
We all went into the back and kind of waited until we were invited to speak. It was very uncomfortable.
The entire time he was slouched in his chair, kinda kicked back just very annoyed." Yadon was asked
what time the briefing was scheduled to begin and she believed it was 3:00 p.m. Yadon was asked how
long she waited in the lobby and she estimated ten minutes. Yadon confirmed the officer who spoke to
them said they already had the training and they indicated they were there earlier in the week; however,
the briefing was cancelled due to an incident in the field.

Nicole Yadon acknowledged Vivian Amezquita scrolled through her phone and confirmed Chief Diaz
set up the training for July 30, 2015, and at that point the officer "huffed" and rolled his eyes and walked
away from them and returned a few minutes later. Yadon added, "At that point once he realized that the
Chief had scheduled it, he must've went back to confirm I guess, came back out and got us and had us

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follow him and then like I said, pointed at the stairway and said it's down there, down the stairs. So we
went down the stairs, went into the briefing room and like I said, waited until we were invited to speak."

Nicole Yadon was asked if the officer took them downstairs after he contacted them a second time and
she replied, "No, he came out, he bantered with us about the fact that we had already been there, went
into the back, came back out, said who scheduled it. We said the Chief. That's when he kinda huffed and
rolled his eyes, went into the back and then came back out and got us again." Yadon confirmed they
went downstairs to the briefing room at that point.

Nicole Yadon was asked if she was in the briefing room on prior occasions and she said she was not.
Yadon added, "I believe Erica Schwartz was there on Monday and she's the DA, but like I said the
training was cancelled because there were other things going on." Yadon was asked if she provided
training sessions to various other agencies in the county and she said she did and they were conducted
annually during the summer and were set up by the Rape Crisis Center.

Nicole Yadon was asked if the officer told them what room to enter when he advised them to walk
downstairs and she said he did not. Yadon was asked if the officer left at that point and she replied, "He
told us to go downstairs and we went down there, I don't know where he went at that point but then he
showed up a few moments later." Yadon confirmed no one actually escorted them to the briefmg room
or told them where to go. Yadon added, "Which is extremely uncommon because every time we're,
unless, if it's somewhere that we were just there a few days ago they'll say okay, you know where
you're going, right, yeah, we've got it and then we'll go on our own. but I had never been to this
Department."

 Nicole Yadon confirmed in her experience when conducting training at the various agencies, someone
 typically escorted them to where the class would occur. Yadon acknowledged there were a couple
 officers in uniform in the briefing room when they arrived, as well as a dispatcher and an investigator.

 Nicole Yadon indicated the male investigator was wearing dress attire and added, "I did have some
 communication with him and I'd have to go back through my e-mails to tell you what his name was
 because he had some questions and asked for some follow-up in regards to some information about
 exams. And so I had e-mailed him the next day." Yadon was asked her opinion respective to their
 contact with the initial officer and she replied, "I was really thrown back. He was, appeared very
 annoyed that we were there."

 Nicole Yadon continued, "It was very uncomfortable. We kinda argued in the back quietly over who
 was gonna talk first because nobody wanted to and we do these every single summer probably 20 or 30
 a year, I mean they're back to back to back, and so sometimes we'll do them up to three times a day. I
 have no problem speaking, and at this point, I didn't wanna talk, I didn't even want to go up there. It
 was very, very, very uncomfortable." Yadon was asked how long they were in the briefing room prior
 to beginning the training session and she said it was just a few minutes.

 Nicole Yadon was asked to describe what the initial officer they spoke to was doing at that point and she
 replied, "Just kinda leaned back in his chair and had his leg kind of kicked up on the other leg, seemed
 very disinterested. His whole presentation just seemed in my opinion, very, very annoyed." Yadon was
 asked if she eventually walked to the front of the room to conduct her segment of the training and she

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 stated she did. Yadon confirmed each of the presenters went to the front of the room individually and
 faced the group. Yadon said by the time they completed the presentation, there were upwards of ten
 people in the room.

 Nicole Yadon was asked where the initial officer was sitting as she faced the group and she replied,
 "The room has like round, I believe like round, like rows of round tables, very long tables. When you're
 standing up facing them he was gonna be on the right, kind of the end of maybe the second row."
 Yadon was asked if she formed an opinion as to whether or not he was a supervisor or in charge of the
 briefing and she replied, "At that point I didn't know, it wasn't until the next day when I had
 communication with the investigator that I believe he said he was maybe a sergeant."

 Nicole Yadon was asked the length of the training and she said, "Maybe 10 or 15 minutes tops, which is
 about average." Yadon was asked what occurred after the training concluded and she replied, "Once it
 was finished the investigator had asked me a couple questions, in regards to some information that he
 needed and then the officer in question, I don't remember what the exact statement was but basically we
 let ourselves out. So we went back upstairs and we kind of roamed through the Department because we
 didn't know how to get out, there wasn't really a clearly marked exit. None of us had been to that
 agency in the past."

Nicole Yadon was asked if any of the presenters conducted training at the Banning Police Department in
the past and she said, "No, I don't think the girls had. I don't want to speak for them but I don't think so
because nobody knew how to get out so we kinda roamed our way out of the Department." Yadon was
asked if the, initial officer said anything when the training was concluded and she replied, "I don't
recall." Yadon confirmed the officer did not walk them out of the building. Yadon was asked if anyone
offered to walk them out of the building and she said no one did. Yadon confirmed they walked around
the building before they found their way out.

Nicole Yadon was asked if she left the building with the other two presenters and she said she did.
Yadon was asked if she and the other presenters discussed what occurred and she replied, "Yeah, we
couldn't get out of there quick enough and afterwards we were all just very thrown back at the
experience in and of itself and there's kind of some brief discussion about, like, wow, like I don't even
know what just happened, but when I had e-mailed the investigator the following day, urn I had asked
him, and I don't remember exactly what the words was but like kinda what was that guy's problem, he
was extremely rude."

Nicole Yadon continued, "He basically just said that oh, he just got back from a trip to Vegas or
something and had gotten there late that day and so he was just kind of annoyed in general and for us,
for me to not take it personal." Yadon was asked if she indicated earlier that she conducted those types
of training over the past six years and she said she did, all over the county: Yadon was asked if she
experienced anything similar to what occurred with respect to that officer in the past and she said she
never did.

Nicole Yadon was asked to provide an overview of her concerns regarding the initial officer that day
and she replied, "I was shocked that we were so =welcomed by him. Now the other people in the room,
several of them had very valid questions, engaged in the dialog. A lot of times we'll do these trainings
and you can tell that there's specific officers that aren't really interested and that's fine and if they want

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to be quiet and sit to themselves, that's not a big deal. But typically the person who greets us is very
friendly, shows us where to go, shows us the way out and makes it clear to the group that they need to
pay attention to us; that this is very important training for them."

Nicole Yadon continued, "I just felt extremely unwelcomed, very uncomfortable. And I can talk to
anybody about anything and I didn't even want to speak because it was like, it was like you could hear a
pin drop in the room. There was so much tension from him, it was very uncomfortable." Yadon
confirmed she did not have any negative interactions with anyone else at the Banning Police Department
that day. Yadon was asked if the officer's attitude was the reason she did not want to provide training
there and she said it was.

Nicole Yadon was asked if she reported the incident to anyone at her place of employment and she said,
"I don't believe so." Yadon was asked if she spoke to anyone other than the two presenters about the
situation and she said she spoke to Debora Heaps, the program director at the Rape Crisis Center in
Riverside. Yadon added, "And I spoke to Gloria Davis and she's the Program Manager at Riverside
County Regional at their SART program." Yadon acknowledged one of the presenters worked for
Heaps and the other presenter worked for Davis.

Nicole Yadon was asked if she sent an e-mail to the Banning Police Department on August 3, 2015, in
which she expressed her complaints about what occurred that day and she said, "I did sent an e-mail, I
don't recall the date but I assume that's accurate." Yadon was shown a copy of the e-mail and she
verified it was a copy of the one she sent. Yadon was asked if she copied Debora Heaps in the e-mail
and she believed she did. Yadon was asked if she had further conversations with anyone regarding the
incident after sending the e-mail and she did not recall.

Nicole Yadon was asked if she spoke to Chief Diaz' assistant and she said she did. Yadon was asked to
describe the conversation and she replied, "I believe that she had indicated that she was gonna forward
the e-mail or forward the complaint to him and then he ended up calling me directly." Yadon stated
Chief Diaz wanted her to know that her concerns were going to be addressed by the Department and the
situation involving the officer was unacceptable.

Interview of Corporal Steve Hobb

On October 30, 2015, RCS Investigator Flutts conducted an interview with Corporal Steve Hobb. Hobb
was represented by his attorney, Robert Baumann. Hobb was admonished to answer all questions
completely and truthfully and was admonished of his rights pursuant to the California Government
Code. The interview was recorded and a transcript is included as Exhibit "K" in this report. The
following is a synopsis of the interview.

Corporal Hobb has been employed by the Banning Police Department for 10 years and is currently
assigned to Patrol. Hobb was asked his assignment on July 30, 2015, and he said he was the Watch
Commander for Patrol Team 3, working the 4:00 p.m. to 4:00 a.m. shift. Hobb was asked if he became
aware at some point that members of the SART team were at the Department to provide briefing training
and he said, "Yes, I did. I was in briefing and one of the records personnel, a female, came down and
advised me that there was some people upstairs."


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 Corporal Hobb was asked if he had previous knowledge the training was to take place that day and he
 replied, "I did from an e-mail but I forgot about it." Hobb believed the e-mail was from Sergeant Fisher.
 When asked the content of the e-mail he said, "I don't know when it was dated or when he sent it out but
 it was something, it was saying that the SART team was coming for briefing training." Hobb was asked
 if the e-mail indicated the date and time SART was scheduled to provide training and he acknowledged
 it did.

 Corporal Hobb was asked if he eventually responded to the lobby to meet with the SART personnel and
 he said he did. Hobb was asked how much time elapsed from when he' was told they were there, until he
 met with the SART personnel and he replied, "Maybe five minutes." Hobb confirmed briefing already
 started and when asked if he was conducting briefing as part of his Watch Commander duties, he said he
 was. Hobb was asked if any additional training was taking place that day and he said there was not.

  Corporal Hobb was asked how many SART personnel were in the lobby and he said there were three
  females. Hobb was asked if he made a statement similar to: "What are you guys doing here" when he
  met them in the lobby and he said he did not. Hobb was asked how he greeted the SART personnel and
  he replied, "From my recollection it was, I already knew they were SART because the records personnel
  told me that; I knew they were already there for training because she told me they were here for training.
  I went up there, I'm like; I might've said that, like what are you doing here. That doesn't sound like the
• appropriate question to ask right off the bat, so I can't see myself asking that, because that sounds rude
  to ask that question, what are you doing here? Honestly I couldn't tell you what I said; it wasn't
  something along those lines."

 Corporal Hobb was asked if he told the SART members the Banning Police Department just had the
 same training a few months prior and he said he did. Hobb was asked what he based that information on
 and he replied, "My personal knowledge, remembering the training, and my officers before I walked
 upstairs they, they commented, we just had this training." Hobb was asked if the Records Bureau
 employee notified him by phone that the SART personnel were in the lobby or if she physically
 responded to the briefing room and he said she walked downstairs to tell him. Hobb was asked if he was
 told about the training in the presence of the other officers in the room and he said he was.

 Corporal Hobb was asked in his experience, if the training was presented annually and he believed it
 was usually once a year. Hobb confirmed both he and the other officers in the room recalled having the
 training recently. Hobbs was asked how the SART personnel responded and he replied, "One of the
 females said well that's impossible, we're the only ones that do the training and we haven't been here in
 over a year." Hobb was asked how he responded and he said, "I was, replied that well, I remember
 having it and so do my officers. And then. she responded, one of them responded, well, your chief
 scheduled us to be here."

 Corporal Hobb was asked if all three females were involved in the discussion and he replied, "I believe
 it was one. It might've been, might've been a second chimed in and said something." Hobb was asked if
 he specifically questioned them as to who set up the training and he said, "I did not ask them, one of the
 females responded with, well your chief set up this training." Hobb was asked if he observed any of the

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females check their phone regarding the details of the meeting and he said he did not. Hobb was asked
if he ever referred to Chief Diaz as a sergeant during that conversation and he did not recall.

Corporal Hobb was asked if that sounded like something he may have said and he replied, "If I did, if I
said that it was a total slip and that would be disrespectful and I wouldn't say that." Hobb was asked
when one of the females indicated Chief Diaz arranged the training, if he visibly rolled his eyes at any
point and he said, "Huh, I don't recall, rolling my eyes. Could I have, I'm not saying I didn't but I don't
recall rolling my eyes. I don't recall doing that." Hobb was asked if he had any reaction when he was
advised Diaz set up the training and he said, "Once she said that that the chief set it up, I said well let's
go down and do it. Let's go down and do it, can you speed up the process though because we got calls
pending and she said not a problem."

Corporal Hobb was asked based on his past experience, how long the training typically lasted and he
said, "Depends on questioning, it could go, there's three of them, there's usually a SART nurse, there's a
rape crisis advocate, there's usually two or, and then there's a supervisor and they all take turns speaking
so it could take, it could take a half hour." Hobb was asked if he specifically recalled there were calls
for service pending that day and he said he did.

Corporal Hobb was asked the length of a typical briefing when there was no outside or extra training and
he replied, "Well it depends if I'm doing training, I'll do my own training. If there's calls pending, we
just, we clear and we go. There's times where we don't even go through the, the shift before us, calls for
service and go over that, so it varies. It could be, let's go, we've got calls pending because I already get
a pass-down from. the sergeant prior to briefing so I already know the major incidents and if I have to
pass those I will. But for the most, I mean, sometimes it's, there's no briefing and we'll come back to it
later or sometimes it could be a half hour, sometimes it can be an hour depending on what I wanna train
the guys on and bring up."

Corporal Hobb was asked if that was a typical practice to pass matters off from another shift and he said
it was. Hobb was asked the typical deployment on that shift and he said three officers plus a supervisor.
Hobb was asked if he audibly sighed at any point during his conversation with the SART personnel after
learning Chief Diaz arranged the training and he said he could have. Hobb was asked if he told any of
the SART members he did not have time for the training and he said he did not. Hobb was asked after
his initial contact with the SART members in the lobby, if he went back inside and then returned a few
minutes later and he replied, "I don't recall. I recall once I walked out and greeted them, we talked, they
followed us downstairs. Well, followed me."

Corporal Hobb was asked after being told Chief Diaz set up the training, if he left the lobby to confirm
that fact and he said he did not. Hobb was asked how far he was into briefing when he was informed by
Records the SART members were in the lobby and he replied, "It was like right at the beginning, there
was still dayshift guys mingling around and then when she told me I recall seeing the detectives start
walking in so they were down there for the same training." Hobb was asked if detectives knew about
the training ahead of time and he said, "I'm a hundred percent sure more than likely they knew about it
because Sergeant Arretche probably had it on his calendar cause he was there."

Corporal Hobb was asked if Sergeant Arretche was the Detective Sergeant at the time and he confirmed
he was. Hobb was asked if Arretche was currently in that position and he believed he was. Hobb was

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asked if he finished the patrol briefing after the SART members completed their presentation and he
replied, "I think as soon as the training was done we went 10-8." Hobb was asked the length of the
SART training that day and he replied, "She did it really fast, like it was five maybe 10 minutes." Hobb
was asked if all three females participated in the training and he stated they did.

Corporal Hobb was asked if conducting briefing was a normal part of his duties as a Watch Commander
and he said it was. Hobb confirmed when he met the SART members in the lobby; he had them follow
him to the briefing room. Hobb was asked if he physically led them to the briefing room and he said he
did. Hobb was asked where the briefing room was located in relation to the lobby and he replied, "You
go through the lobby door past records, hang a right, go down the stairs, down the main hallway, go left
and then right, right into briefing." Hobb confirmed the briefing room was downstairs from the lobby.

Corporal Hobb was asked if he was annoyed or angry about the SART members being present that day
and he said he was irritated. Hobb added, "I wasn't irritated that they were there, I was irritated that we
had calls and we already had this training and we had to do it again. And I don't know if it's a set
schedule, I don't think it is. It's the same training, they pass the same information." Hobb believed two
patrol officers and possibly a trainee were working that day. When asked how many detectives were
present he replied, "I remember Sergeant Arretche, maybe, maybe Detective Segura and maybe
Detective Nolan. I don't know if Detective Bennett was there or not." Hobb was asked if any other
employees were present and he said, "I think dayshift stuck around. Dayshift patrol."

Corporal Hobb was asked if he was seated during the training presentation and he replied, "I was right in
the front row, far left corner right in the front when you walk in, first seat on the right side." Hobb was
asked if that was his normal position when conducting briefing and he said, "Unless I'm doing
something on the computer and I got the Power Point." Hobb confirmed he sometimes presented from
the podium. Hobb was asked if he recalled repeatedly looking at his watch during the SART training
and he said he did not wear a watch. Hobb indicated he typically did not wear a watch.

Corporal Hobb was asked how the SART team exited the briefing room when they finished training and
he said, "I don't know, I didn't walk with them." Hobb was asked if he had someone else advise them
where to go and he replied, "I ,think Sergeant Arretche might've walked with them out." Hobb
acknowledged he was not sure; however, he knew he did not walk them out. Hobb was asked if he
directed anyone to escort the SART members out of the building and he replied, "No, because I, they, I
think they were answering questions when me and the patrol guys cleared. I think they were still
answering questions to people that were still lingering around."

Corporal Hobb was asked if he and the other patrol officers eventually went in-service and he said, "I
think so, yes." Hobb was asked if he had any further interaction with the SART members after initially
contacting them in the lobby and he said not that he recalled. Hobb was asked if he was discourteous or
rude to any of the SART members during their interactions and he replied, "I don't believe so." Hobb
was asked in his opinion, if he was professional in his interactions with the SART members that day and
he said he was. Hobb was asked if he had anything further to add and he said he did not.

Attorney Baumann asked Corporal Hobb if he recalled receiving notification the SART members were
going to be there that day and he replied, "I found an e-mail afterwards and I had already read it so I
knew, I read it before the meeting. Before the, I had read it when the e-mail came out but I forgot about

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it. I forget how far in advance it was." Baumann asked Hobb how many pending calls there were when
the SART members arrived and he did not recall.




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                               SECTION 2
                CONCLUSIONS AND FINDIN GS




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                                     SECTION 2

                          CONCLUSIONS AND FINDINGS
This administrative investigation was initiated after the Banning Police Department received two
complaints via e-mail regarding Corporal Hobb's behavior on July 30, 2015. Briefing training was
scheduled on July 30, 2015, and representatives from the Riverside County Sexual Assault Response
Team [SART] arrived and provided sexual assault response training to members of the Banning Police
Department. The complaints alleged Hobb was rude, discourteous and unprofessional to the SART
Team members present.

                                      Allegation

It was alleged that Corporal Hobb was discourteous to SART Team members, who provided
training at the Banning Police Department on July 30, 2015.

                                      Allegation "r,
It was alleged that Corporal Hobb demonstrated unbecoming conduct and poorly represented the
Banning Police Department during his interaction with SART Team members, who provided
training on July 30, 2015.

                                       CONCLUSIONS
Vivian Amezquita, Sharleen Lampkin and Nicole Yadon are all members of the Riverside County
Sexual Assault Response Team {SART] and they arrived at the Banning Police Department on July 30,
2015, to provide briefing training. The SART Team provides annual training to a number of police
agencies throughout Riverside County.

When they arrived at the Banning Police Department, the SART Team members were eventually met by
Corporal Steve Hobb, who was the Acting Watch Commander that day. Vivian Amezquita, Sharleen
Lampkin and Nicole Yadon were generally consistent in their descriptions of Hobb's demeanor and
attitude and all stated he was unprofessional, abrupt, rude and discourteous to them. The SART Team
members complained that Hobb was irritated they were there to provide training and made the comment,
"What are you doing here?"

The SART Team members stated Corporal Hobb claimed he and the other patrol officers just received
the same training recently; however, the SART Team members were consistent in their statements
training was conducted annually during the summer months and no training had been provided at the
Banning Police Department since the summer of 2014.



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The SART Team members stated Corporal Hobb audibly sighed and "rolled his eyes" when he was told
the training was set up by Chief Alex Diaz. One of the members also said Hobb referred to Chief Diaz
as a sergeant. The SART members generally stated Hobb's attitude was unprofessional and they did not
feel welcomed by him and they were uncomfortable throughout the time they were at the Department.
The SART members also stated after the training was completed, they were not escorted out of the
police station and wandered around until they found their way out to the front lobby.

                                              FINDINGS
During his administrative interview, Corporal Hobb said he received an e-mail notification about the
training; however, forgot about it. When asked if he made the statement, "What are you doing here"
when he greeted the SART Team members, Hobb initially stated he did not and that would haVe been a
rude question. Hobb later stated he may have said that, and finally stated he could not recall what he
said; however, it was not anything like that.

Corporal Hobb acknowledged SART training was held annually and he told the SART Team members
that officers had recently had the training. Regarding his initial contact with the SART Team members,
Hobb said he was speaking primarily to one person; however, he said a second team member then
"chimed in" to the conversation.

Corporal Hobb said he did not recall referring to Chief Diaz as a sergeant; however, if he did it was a
slip and not intentional. Hobb stated at the time of the pending training, there were patrol calls, holding
and he acknowledged that he asked the SART Team members to, "Speed up the process."

Corporal Hobb acknowledged he was irritated the SART Team members were at the Department to
provide training that day. When asked if he audibly sighed at any point, Hobb stated he could have.
When asked if he "rolled his eyes," Hobb said he did not recall doing that; however, it was possible.
When the training was completed, Hobb said he and the patrol officers left the briefing room. Hobb said
Detective Bureau personnel attended the training and were still present when he left. Hobb
acknowledged he did not escort the SART Team members back to the lobby and did not ask any other
employees to do so.

RCS Investigators found the SART Team members' statements to be generally consistent with each
other and there was no information to suggest their observations were inaccurate. During his
administrative interview, Corporal Hobb acknowledged at least in-part, some of the statements and
actions described by the SART Team members, RCS Investigators believe Hobb's initial contact with
the SART Team members, during which time he questioned why they were there; who set up the
training and insisting that he and officers recently had the same training was unprofessional and
discourteous.

RCS Investigators believe Corporal Hobb was clearly irritated at the presence of the SART Team
members, as acknowledged during his administrative interview. Hobb acknowledged he could have
audibly sighed and he did not recall; however, it was possible he rolled his eyes during his interaction
with the SART Team members.



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Based on the statements made by the SART Team members, RCS Investigators believe it was likely
Corporal Hobb demonstrated those actions and in doing so, poorly represented the Banning Police
Department and demonstrated unbecoming conduct. RCS Investigators are of the opinion Hobb was
rude and discourteous to the SART Team members and his actions made them feel uncomfortable,
during the time they were at the Department. In addition, Hobb, in his capacity as the Acting Watch
Commander, had an obligation to professionally treat the SART Team members, including making
arrangements for them to be escorted from the briefing room at the conclusion of the training.

During his administrative interview, Corporal Hobb stated at the time the briefing training occurred,
there were several calls for service pending. RCS Investigators reviewed a partial call log for July 30,
2015 and noted only ten incidents that day between 4:00 and 5:00 p.m. Of those, five incidents were
graffiti incidents with disposition codes of AB, which indicated the graffiti was abated by Code
Enforcement. One incident was listed as "Medical" with a disposition code of OA, which indicated the
incident was referred to another agency. Finally, one incident during that period of time was a
residential alarm with a disposition code of AC, which indicated the alarm was cancelled by the alarm
company.

RCS Investigators reviewed the patrol shift bulletin for July 30, 2015. The bulletin listed significant
incidents for that shift. Aside from the above mentioned residential alarm, the only other incident listed
between 4:00 and 5:00 p.m. was a mental disorder call. That incident was closed with a disposition of
RT, which indicated a report was taken.

The above reviewed documents did not appear to show a great deal of activity occurred between the'
listed times on July 30, 2015; however, RCS Investigators were unable to determine the exact number of
calls, if any, that were pending at the time of Corporal Hobb's interaction with the SART Team
members. Even if a number of calls 'were pending at the time of the training, Corporal Hobb was still
expected to treat the SART Team members courteously and professionally.

Based on the above information, RCS Investigators are of the opinion Corporal Hobb was discourteous
and unprofessional during his interactions with the SART Team members and that his actions
demonstrated unbecoming conduct and poorly represented the Department. As such, both Allegations
are SUSTAINED.

RCS Investigators submitted a compact disk containing audio recordings of witness statements and
Corporal Hobb's administrative interview. The CD is included as Exhibit "L" in this report.




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(r.                              SECTION 3
                                 EXHIBITS




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                          EXHIBIT A




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   Banning Police Department Policy Manual

   338.3.2 CONDUCT

   (k) Discourteous, disrespectful or discriminatory treatment of any member of the public or any
   member of this department.

   338.3.5 PERFORMANCE

   (aa) Any other on-duty or off-duty conduct which any employee knows or reasonably should
   know is unbecoming a member of the Department or which is contrary to good order, efficiency
   or morale, or which tends to reflect unfavorably upon the Department or its members.




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                          EXHIBIT B




                                                                                 112
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     From: Yadon, Nicole
     [mailto:Nicole.YadonAuhsinc.coml
     Sent: Monday, August 03, 2015 8:22 AM
     To: Daniele Savard
     Subject: Follow up from Briefing

    Good morning, I am the SART Coordinator out of Rancho Springs Medical Center in
    Murrieta. Myself along with other members of our team from Riverside County Regional
    Medical Center and Riverside Area Rape Crisis were scheduled to provide annual SART
    training on Thursday July so" at 1600. Upon arrival we were not so pleasantly greeted by an
    officer named "Hobb". He was extremely rude and seemed somewhat annoyed attempting to
    argue with us stating that we had just provided this training a few months ago. Our team
    provides this training once a year, during the summer months. After we informed him that
    this training was set up by you, he proceeded to roll his eyes, huff and very rudely direct us
    down the stairs. All of our team felt extremely uncomfortable during this presentation due to
    his demeanor and body posture while we were presenting. Once finished, we were told to let
    ourselves out, and had to roam through halls until we found the exit. I am sure that this is not
    the way .your department should be represented. I felt that it was important you were aware
    of this, as our goal is to build relationships with Law Enforcement for the benefit of our
    victims. If you have any questions, please feelfree to contact me via cell.
     Thank you for your time.

     Nicole D. Yadon




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                           EXHIBIT C




                                                                                 114
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   From: Debora Heaps rmailto:dheaosaVarcc.ocgi
   Sent: Wednesday, August 12, 2015 5:08 PM
   To: Alex Diaz
   Subject: Briefing Training July, 30, 2015--4PM Sexual Assault Response Team

   Chief Diaz,

   The Western Riverside County Sexual Assault Team annually schedules our briefing trainings, We
   provide training to all Law Enforcement agencies in our service area-south to Temecula, west to Corona,
   east to Cabazon and surrounding areas. It is coordinated by the Riverside Area Rape Crisis Center and
   the advocacy program, the forensic nurse from Riverside County Regional Medical Center, and a district
   attorney take time to provide training in assisting first responders in sexual assault response. We were
   grateful that you scheduled us and.know you felt it is important to your Team to have this training. The
   professionals that provide the training are taking professional time to meet the needs of this critical
   collaboration.


   On July 30, 2015 at 4PM our advocate Vivian A, forensic nurses from both County and Rancho Springs
   hospitals and a District Attorney were prepared for training. They were greeted in an unprofessional
   manner by an Officer Hobb. He complained that they had just received the training and didn't have time
   for "this". Our team was very intimidated by his dismissive and rude manners even through the
   presentation that he postured as without value and inconvenient.

   I received a call from the Manager of the Forensic Nurses Gloria Davis at Riverside County Medical
   Center after her nurse complained about his treatment of the team. Our advocate also came to my
   office and, let me know about the poor way the SART Team was received by hini.

   It is our desire to form strong professional collaborations with all of the Law Enforcement agencies. The
   sexual assault field is changing very rapidly at this time and our desire is for victims, our communities
   and professionals to have the most updated and accurate information possible to investigate and gather
   evidence for these horrible crimes.

   Thank you for your attention in this matter.

   Sincerely,
   Debora Monroe Heaps
   Director of Programs
   Riverside Area Rape Crisis
   Center
   951-686-7273




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                          EXHIBIT D




                                                                                 116
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                                                   Banning Police D partrnent
                                                   126 E. Ramsey Street, Banning, CA 92220 (951) 922-3170


                                                                   Memorandum
     To:           Cpl. Steve Hobb                                             Date: August 21, 2015
     'rom:         Lieutenant Phil Holder

     Reference: Internal Affairs Investigation 415-04


    A complaint has been filed against you alleging your conduct on July 30, 2015 was contrary to
    the department's policy and procedures. In the complaint, it is alleged you were discourteous
    and argumentative towards members of the Western County Sexual Assault Team when they
    arrived at the Bernina Police Department to conduct briefing training. Subsequently, the City
    has an obligation by law to conduct an investigation into this allegation.

    Based on the allegation, I must advise you it is unacceptable for you to take any adverse actions
    against any person(s) for their involvement in the filing of the complaint.

    David Flutts, a private investigator, will be the fact-finder in this matter. However, at this time, a
    time and date for your interview has not been scheduled. When the interview takes place you
    will be directed to cooperate in the interview and to respond in a complete, accurate, and truthful
    manner. The interview will be recorded.

    During the interview you will have the right to be accompanied' by a representative of your
    choice who may be present at all times during the interview. However, this representative shall
    not be a person subject to the same investigation. In order to maintain the integrity of the
    investigation process, you are ordered to refrain from discussing this notice, the interview, or the
    investigation itself, with anyone other than your representative. Before you discuss the matter
    with your representative you must first notify me of who you've selected so that I can ensure
    they are not subject to the same investigation or are a possible witness.

    If you have any questions prior to the interview please do not hesitate to call me at 951-849-
    1097.




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                                               Banning Police Department
                                                125 E. Ramsey Street, Banning, CA 92220 (951) 922-3170


                                                               Memorandum


   To:           Cpl. Steve Hobb                                            Date: September 30, 2015

   From:         Lieutenant Phil Holder

   Reference: Internal Affairs Investigation #15-04 Interview


   Your interview regarding Internal Affairs Investigation 2015-04 is scheduled for Wednesday,
   October 7, 2015 at 1100 hours in the small conference room at Banning City Hall. The
   complaint pertains to allegations that you were discourteous and argumentative towards
   members of the Western County Sexual Assault Team when they arrived at the Banning Police
   Department to conduct briefing training on July 30, 2015.

   David Flutts, a private investigator, will be the fact-finder in this matter. When the interview
   takes place you will be directed to cooperate in the interview and to respond in a complete,
   accurate, and truthful manner. The interview will be recorded.

   During the interview you will have the right to be accompanied by a representative of your
   choice who may be present at all times during the interview. However, this representative shall
   not be a person subject to the same investigation. In order to maintain the integrity of the
   investigation process, you are ordered to refrain from discussing this notice, the interview, or the
   investigation itself, with anyone other than your representative. Before you discuss the matter
   with your representative you must first notify me of who you've selected so that I can ensure
   they are not subject to the same investigation or are a possible witness.

   If you have any questions prior to the interview please do not hesitate to call me at 951-849-
   1097.




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                                                   angling Police De ,rtiartent
                                                 125 E. Ramsey Street, Banning, CA 92220 (951) 922-3170


                                                                Memorandum

    To:          Steve Hobb                                                 Date: October 9, 2015
                 Corporal

    From:         Alex Diaz
                  Chief of Police       0539

    Refere ee: Internal Affairs Investigation #15-04


    At the request of your attorney, I have agreed to re-schedule your interview concerning this
    matter in which it is alleged you were discourteous and argumentative towards members of the
    Western County Sexual Assault Team when they arrived at the Banning Police Department on
    July 30, 2015 to conduct briefing training: The nature of the allegations are such that if
    sustained, discipline could' result for violations of City and/or Department ordinances,
    resolutions, rules, regulations, policies, orders and/or directives.

   Your interview is rescheduled for Friday, October 30, 2015, at 10 a.m. in the small
   conference room of the Banning City Hall. David Flutts will be the sole interrogator for the
   administrative interview, You are directed to answer questions in a complete, accurate and
   truthful manner, in accordance with your obligations under the Banning Police Department
   Policy Manual. You are further ordered to obey any lawful order given by the investigator as
   though such order was coming from a superior in your chain of command with the City of
   Banning Police Department.

   You are advised in advance that the interview will be recorded, You will have access to the
   recording if any further proceedings are contemplated or prior to any further interrogation
   relating to this investigation at a subsequent time. You have the right to bring your own
   recording device and to record any and all aspects of your interview.

   During the interview you will have the right to be accompanied by a representative of your
   choice who may be present at all times during the interview. However, this representative shall
   not be a person subject to the same investigation. Before you discuss the matter with your
   representative you must first notify me of who you've selected so that I can ensure they are not
   subject to the same investigation or are a possible witness. You are advised that under current
   case law, an officer's right to be represented by the person of his or her choice is not unlimited.
   The officer must choose a representative who is reasonably available to represent the officer, and
   who is physically able to represent the officer at the reasonably scheduled interrogation. It
   remains the officer's responsibility to secure the attendance of his or her chosen representative at
   the interrogation. If he or she is unable to do so, the officer should select another representative




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     so that the interrogation may proceed at a reasonable hour. The chosen representative' during
     administrative hearings need not be an attorney.

     You are directed to sign and return this memo to confirm only your receipt of same and of the
     directives herein,

     RECEIVED AND ACKNOWLEDGED




     Steve Hobb          Date




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                          EXHIBIT E




                                                                                 121
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                                          BANNING POLICE DEPARTMENT •
                                                         is;.•41.r.Ar4.11i-r-igq;SiTen,:-J4f•7"7                           Page 2

                                                                                                                           11/06/2015
                 Time     Inc #        Type         Dispo           Unit               Address
 0,,.,x/2015    08:33     201507300037 911       LN                                   Cell, 1999 N 8TH, Banning
 07/30/2015     08:38     201507300038 911       LN                                   Cell, 1999 N 8TH, Banning
 07%30/2015     08:3-8—   201507300039 911       LN                                   Cell, 1999 N 8TH, Banning
 07/30/2015     09:01     201507300040 911       LN                                   776 19TH, Banning
 07/30/2015     09:15     201507300041 911       LN                                   Cell, 1999 N 8TH, Banning
 07/30/2015     09:49     201507300042 SUSP SUB  OK                 P34               475 N 5TH, Banning
 07/30/2015     09:55     201507300043.13EDCK-  " AR                S8                Repplier Park, 399 W George, Banning
 07/30/2015     09:58     201507300044 911       OA                                   Cell,,1999.N.8TH, Banning
 07/30/2015     10:11     201507300045 REPO      LN                                   Family Tow, 1284 E Lincoln, Banning
 07/30/2015     10:31     201507300046 911       OA                                   Cell, 1999 N 8TH, Banning
 07/30/2015     10:36     201507300047 WELCHK    AR                 P30               1499 W Cottonwood Rd, Banning
 07/30/2015     10:45     201507300048 911       OA                                   Cell, 1999 N 8TH, Banning
 07/30/2015     11:24     201507300049 CODE ENF LN                  E66               Bradley Wright Residence, 475 E Theodore,
                                                                                      Bannin
 07/30/2015     11:42     201507300050 RUNAWAY      LN                               Ferree's Group Home, 2269 W Nicolet, Banning
 07/30/2015 -   11:42     201507300051 TSTOP        WA              P34              Banning Donuts, 584 W Ramsey, Banning
 07/30/2015     11:46     201507300052 ALARM/R      FA              P34              2998 Mohawk Rd, Banning
 07/30/2015     11:49     201507300053 CODE ENF     LN              E66              1339 Almond Wy, Banning
 07/30/2015     11:55     201507300054 911          LN                               Beaver Primary Care Center, 5957 W Ramsey,
                                                                                      Banni
07/30/2015      12:00     201507300055 911          OA                               1999 N 8TH, Banning
   -`)/2015     12:12     201507300056- CODE ENF    LN              E66              1453.E Hoffer, Banning
6,._ 0/2015     12:20     201507300057 ALARM/R      FA              P34              414 E Theodore, Banning
07/30/2015      12:31     201507300058 415 PC       CV              P34              PD Lobby, 125 E Ramsey, Banning
07/30/2015      12:39     201507300059 CODE ENF     LN              E66              1067 Durward, Banning
07/30/2015      12:44     201507300060 STREET       OA                               S Highland Springs/Sun Lakes Blvd, Banning
07/30/2015      13:01     201507300061 SUSP SUB     OK              P30              Coyne Power Sports, 2301 W Ramsey, Banning
07/30/2015      13:06     201507300062 ALARM/C      AC                               Shaw, Louis, 1046 Juniper Pl, Banning
07/30/2015      13:30     2015073110063. CODE ENF   LN             E66               Caretaker Info Attached,
                                                                                      3880 W Jacinto View Rd
 07/30/2015     13:37     201507300064 242 IP       LN             P30               Eagle Bar, W Ramsey/Grandview Ave, Banning
 07/30/2015     13:39     201507300065 TRAFHAZ      AS             P34               W RAMSEY/8TH St, Banning
 07/30/2015     13:47     201507300066 WELCIIK      LN             P30               2951 Summerset Ci, Banning
 07/30/2015     13:51     201507300067 911          LN                               Cell, 1999 N 8TH, Banning
 07/30/2015     14:07     201507300068 TSTOP        CI             P34               W Ramsey/Sunset Ave, Banning
 07/30/2015     14:14     201507300069 ALARM/C      FA             P30               Grace Lutheran Church, 1000 W Wilson, Banning
 07/30/2015     14:22     201507300070 CODE ENF.    LN             E66               4097 W Ramsey, Banning
 07/30/2015     14:22     201507300071 SUSP VEH     UT             P30               1401 Wesley, Banning
 07/30/2015     14:43     201507300072 911          LN                               1999 N 8TH, Banning
 07/30/2015     14:46     201507300073 FU           RT             P30               10-21, 1513 W Cottonwood Rd, Banning
0'1/3072015     4:5-0     2015677.30604 FU          SU                               PD, 125E Ramsey, Banning
07/30/2015      15:03     201507300075 DPSS REF     PD             P26               555 N Hathaway, 555 N Hathaway #1004, Banning
07/30/2015      15:15     201507300076 MEDICAL      OA                               1 436 Riviera Av, Banning
  '30/2015      15:23     201507300077 SUSP VEH     UT             S8                N 4TH/INDIAN School Lane, Banning




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 Thte             Time     Inc #         Type      Dispo    Unit    Address
         V201-5. -45:30    201507300078 911        OA                Cell, 1999 N 8TH, Banning
  67/30/2015 15:33         201507300079 503 PC     AR      P26       Pj's Golf Carts, 2415 W Ramsey, Banning
  07/30/2015 16:03         2015073.00080 5150      RT      P32       Four Paws Inn, 3500 W Ramsey, Banning •
  07/30/2015 16:09         201507300081 GRAFFITI AB                  B Victory Av/S Florida, Banning
  07/30/2015 16:09         201507300082 GRAFFITI AB                  640 W Nicolet, Banning
  07/30/2015 16:10         201507300083 GRAFFITI AB                  W Lincoln/Navajo, Banning
  07/30/2015 16:10         201507300084 GRAFFITI AB                 N 8TH/INDIAN School Ln, Banning
  07/30/2015 16:10         201507300085 GRAFFITI AB                 S SunsetEefferson, Banning
  07/30/2015 16:16         201507300086 MEDICAL OA                  1245 W Hoffer, Banning
  07/30/2015 _16:25_       201507300087 REQ INFO IN        P26 .    PD, 125 E Ramsey, Banning
  07/30/2015 16:36         201507300088 ALARM/R AC                  1108 Foothill Dr, Banning
  07/30/2015 16:42        201507300089 911        LN                Cell:1999 N 8TH, Banning
  0..7130/2Q15 . ,17:07   201567300090 'ES'I'OP   WA       P27      N 8TH/RAMSEY, Banning
 07/30/2015 17:13         201507300091 911        LN                1999 N 8TH, Banning
 07/30/2015 17:19         201507300092 TSTOP      WA       P27      B Ramsey/Livingston, Banning
 07/30/2015 17:36         201507300093 AOD/ACO UN          P32      925 W Hays, Banning
 07/30/2015 17:42         201507300094 911        LN                3724 W Ramsey, Banning
 07/30/2015 17:50         201507300095 911        LN                Cell, 60 Alola, Banning
 07/30/2015 17:55         201507300096 415 FAM    LN       P27      1260 W Williams #9, Banning
 07/30/2015 17:55         201507300097 AOD/ACO UT          P32      1490 W Barbour, Banning
 07/30/2015 18:17         201507300098 911        IN                1999 N 8TH, Banning
 ^7130/2015 18:31         201507300099 MEDICAL OA                   4872 Fairway Oaks Av, Banning
  ( V2015 18:42           201507300100 SUSP SUB AR         P32      1513 W Cottonwood Rd, Banning
 0 ),..,0/2015 18:50      201507300101 SUSP SUB UT         P27     Lyons Park, 955 S Hargrave, Banning
 07/30/2015 18:56         201507300102 MEDICAL OA                  281 Brooklawn Dr, Banning
•07/30120-15- —19:17      201507300103 273.5 IP   AR       P27     495 B Theodore, Banning
 07/30/2015 19:20         201507300104 AOD/CPS    AS       P26     Lobby, 270 W Wilson, Banning
 07/30/2015 19:45         201507300105 911      • LN               60 Alola, Banning
 07/30/2015 19:45         201507300106 415 PC     LN               493 B Theodore, Banning
 07/30/2015 19:50         201507300107 MISSPERS RT         P26     Lobby, 2140 W Ramsey, Banning
07/30/2015 19:53          201507300108 415 NEIG   CV       P32     Banning Suites Motel, 3911 W Ramsey #304,
                                                                    Bannin
07/30/2015    20:17       201507300109 MEDICAL    OA               1031 Southern Hills Dr, Banning
07/30/2015    20:19       201507300110 TRESPASS   UT       P26     N Hargrave/E Nicolet, Banning
07/30/2015    20:32       201507300111 242 PAST   CV       P32     Stagecoach Auto Plaza, 4097 W Ramsey, Banning
07/30/2015    20:34       201507300112 911        LN               Cell, 1999 N 8TH, Banning
07/30/2015    20:34       201507300113 911        LN               Cell, 1999 N 8TH, Banning
07/30/2015    20:37       201507300114 415 NEIG   LN       P26     2120 W Monroe, Banning
07/30/2015    20:37       201507300115 415 JUV    RP               W Indian School/N 8TH St, Banning
07/30/2015    20:41       201507300116 911        LN               1999 N 8TH, Banning
07/30/2015    20:48       201507300117 911        LN               Cell, 1999 N 8TH, Banning
07/30/2015    20:58       201507300118 415 PC     LN       P26     E Williams/Allen St, Banning
07/30/2015    20:59       201507300119 415 FAM    LN       C10     Georgebertos, 755 W Ramsey, Banning
07/30/2015    21:01       201507300120 911        LN               Cell, 1999 N 8TH, Banning




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 13:01     Suspicious Subject(s)                                                                        1507300061
                                                                                                     Brenton Bulrice
       Erik Vanheck, 951-768-4926, reported RP ADV A MALE SUBJ BEHIND THE DUMPSTERS AT LOCl/ ADV HE
       IS HITTING HIMSELF IN THE HEAD AND YELLING// BMA 50 YOA LSW: WEARING A HAT BLU SHIRT
       BLK PANTS//. Incident location was 2301 W Ramsey, Coyne Power Sports, Banning. . Disposition: Checks Ok
       by U444 - Brenton Bulrice. Subj Was Moved Along •
 13:06     Commercial Alarm
                                                                                                        1507300062

        RP Locations was 866-689-0599.. Safety Security, reported GARAGE DOOR RESET UNK ACT: 1304 HRS
        RP PENDING PH; NONE LISTED OPER: 650. Incident location was 1046 Juniper Pl, Shaw, Louis, Banning. .
        Disposition: Alarm Cancelled by Alarm Company by Pam Stone.
 13:37      Battery - In Progress
                                                                                                          1507300064
                                                                                        Brenton Bulrice, Vincent Avila
        Sonya Rodriguez, Banning, 951-259-3733, reported RP ISA PASSERBY ADV A MALE IS 242'ING A FEMALE
        IN A WHITE FORD TAURS// ADV THE MALE IS THE DRIVER// HMA 50 YOA LSW: BRO SHIRT// UNK
        DESC OF FEMALE IN THE PASSENGER SEAT//RP REQ TO REMAIN ANON
        Cellular E911 Call:
        Lat:33.926092 Lon:-116.93422
        Service Class: W911. Incident location was W Ramsey/Grandview Ave, Eagle Bar, Banning. Vehicle
        description: 1993 White Ford Taurus, 3CDE197/CA.10-8. NEG ON 242 415 V BETWEEN BF AND GF//
      'PARTIES CALMED DOWN AND WERE TRANSPORTED. Disposition: Log Note Only by U444 - Brenton
        Bakke.
 1-3:47     Welfare Cheek •                                                                               1507300066
                                                                                                     Brenton Bulrice
      Desert Clinic Pain Institue, 36101 Bob Hope Dr #STE Bl-B, 321-1315, reported ATC: JAMES DROST 61 YRS
      RP STATED HE HAD NO ONE TO TURN TO AND HE HAS OVERDOSED BEFORE RP STATES SUBJ HUNG
      UP, ON CALL BACK MALE TOLD RP IT WAS NOT GOOD AND NO ONE COULD HELP
      Service Class: BUSN. Incident location was 2951 Summerset Ci, Banning.. Disposition: Log Note Only by
      U444 - Brenton Bulrice. Subj Checks Ok// Neg On 5150 Subj Is Hbd
14:07     Traffic Stop                                                                                  1507300068
                                                                                            William Auer, Brian Callahan
      Officer initiated activity at W Ramsey/Sunset Ave, Banning. Vehicle description: 2009 Ducat, 20E7972/CA.
      Disposition: Cite Issued by U452 - William Auer.
14:14     Commercial Alarm                                                                                   1507300069
                                                         •     •                                Callahan, Brenton Bulrice
      Pacific Alarm, 800-432-1429, reported COVERS WEST FELLOWSHIP HALL RESET UNK ACT: 1411 HRS
      RP PENDING PH: 951-849-3232 OPER 212. Incident location was 1000 W Wilson, Grace Lutheran Church,
      Banning. . Disposition: False Alarm by U444 - Brenton Bulrice. Exterior Structures Secure
14:22     Suspicious Vehicle
                                                                                                             1507300071
                                                                                                          Brenton Bulrice
      Christina Valencia, 1401 Wesley, Banning, 951-845-7327, reported RP STATES A TRUCK PULLED UP AND
      TOOK PICTURES OF RP'S HOUSE AND OTHER HOUSES IN THE NEIGHBORHOOD WHEN RP ASKED
      WHY HE WAS TAKING PICTURES, HESAID IT. WASN'T imam,. Vehicle description: 2013 Gray Ford
      F150, 09707K1/CA. Disposition: Unable to Locate/Gone on Arrival by U444 - Brenton Bulrice. Veh Goa/Utl Adv
      Rp To Call Back If Veh Returns




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                                   13ANNING POLI(17...DEPARTNIENT •




      -   Suspicious Vehicle                                                                                1507300077
                                                                                        .     . .       . _Vincent Avila_
      Kathryn Hood, 1880 N Alesandro, Banning, 719-310-7890, reported SUSP VEH CIRCLING AREA SLOWLY
      LATE 90'S BLK HONDA ACCORD UNK LIC 3-4 SUBJS INSIDE 1 SUBJ WAS LAYING DOWN FOR A
      SHORT AMOUNT OF TIME IN THE BACK SEAT LAST SEEN S/B 4M3 AGO. Incident location was N
      4TH/INDIAN School Lane, Banning, . Disposition: Unable to Locate/Gone on Arrival by U404 - Vincent Avila.
15:33 Embezzelment                                                                                 15-2293/1507300079
                                                                                                            Patrick Kelly
      Paul Steelman, 760-272-1003, reported RP ADV THAT AN EMPLOYEE WAS EMBEZZLING FUNDS FROM A
      COMPANY CREDIT CARD// RP ADV SUBJ IS DETAINED AT THE LOCH CARLISLES, TONY DOB:
      0204199911. Incident location was 2415 W Ramsey, Pj's Golf Carts, Banning. , Disposition: Arrest by U422 -
      Patrick Kelly. Juv Was Released To The Mother
16:03      Mental Disorder                                                                         15-2292/1507300080
                                                                                          Brandon Smith, Robert Castro
      //kelly, 3500 W Ramsey, Banning, 951-203-6822, reported IN THE PKG LOT WM BALD LSW: BLK TSHIRT,
       SUBJ SAYING HE WANTS TO KILL HIMSELF NO WPNS SEEN
      Cellular E911 Call:
      Lat:33.925653 Lon:-116.9151
      Service Class: WPM.. Disposition: Report Taken by U451 - Robert Castro.
16:36      Residential Alarm                                                                                1507300088

      Safe Security, 877-716-6507, reported BRANT RESID COVERS GRAGE DOOR RESET UNK ACT: 1631 HRS
      RP PENDING PH: 951-572-5420. Incident location was 1108 Foothill Dr, Banning. . Disposition: Alarm
      Cancelled by Alarm. Company by Pam. Stone.
17:07     Traffic Stop                                                                                 1507300090
                                                                                                           Brandon Smith
      Officer initiated activity at N 8TH/RAMSEY, Banning. Vehicle description: 1997 Chevrolet, 6ZME1530/CA.
      Disposition: Warning (Cite/Verbal) by U427 - Brandon Smith.
17:19     Traffic Stop                                                                                       1507300092
                                                                                                           Brandon Smith
      Officer initiated activity at E Ramsey/Livingston, Banning. Vehicle description: 2007 Black Chrysler 300,
      5XIN986/CA, Disposition: Warning (Cite/Verbal) by U427 - Brandon Smith.
17:36     Animal Call                                                                                        1507300093
                                                                                                             Robert Castro
      Teresa Houle, 714-798-1435, reported RP ADV THAT THERE IS A GERMAN SHEPARD IN THEIR YARD//
      ADV THAT IT WON'T LEAVE THE YARD AND IT IS TRYING TO ATTACK HER ANIMALS// ADV SHE
      ALREADY ADV ACO. Incident location was 925 W Hays, Banning. . Disposition: Unfounded by U451 -
      Robert Castro, Dog Was Goa And No Longer In The Area
17:55 ' 415 Family                                                                                           1507300096
                                                                                 Robert Castro, Brandon Smith, Steve Robb
      Vivian Anges, 1260 W Williams #9, Banning, 951-842-8484, reported RP ADVD DAUGHTER IS REFUSING TO
      LEAVE HER HOME // 415 VERBAL WITH MELISSA STARNES 090380 // RP ADVD SHE PULLED HER
      DAUGHTERS HAIR
      Cellular E911 Call:
      Lat:33.943376 Lon:-116,89326
      Service Class: W911. 104. 10-8. daughter agreed to leave, she removed her belongings and is outside waiting
      for a ride. daughter was advised not to cause a disturbance while waiting or she will be subject to arrest.
      Disposition: Log Note Only by U427 - Brandon Smith.




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                   17:55     Animal Call
                                                                                                                   1507300097
                                                                                                                   Robert
                         Anna Chacon, 909-379-3965, reported RP ADV OF 2 DOGS THAT LOOK LIKE WOLVES ARE WANDERING
                         AROUND HER. NEIGHBORHOOD// NOT VICIOUS OR AGG2ESSIVE.Incident location was 1490-W-Barbour,
                         Banning. RP ADVISED DOGS NO LONGER IN THE AREA. Disposition: Unable to Locate/Gone on Arrival by
                         U451- Robert Castro.
                   18:42     Suspicious Subject(s)
                                                                                                                   1507300100
                                                                                         Steve Hobb,Brandon Smith,        Castro
                         Ronald Mccomisky, Banning, 951-990-3067, reported RP ADV THE FEMALE SUSP IS AT THE LOCHRobert
                                                                                                                    ADV SHE
                         PULLED UP IN THE DRIVE WAY// BLK TAURUS// REF CASE 15-229111
                         Cellular E911 Call:
                         Lat:33.94372 Lon:-116.89352
                        Service Class: W911. Incident location was 1513 W Cottonwood Rd, Banning. Vehicle description: 2004 Black
                        Ford Taurus, 5FZP736/CA. Disposition: Arrest by U451- Robert Castro.
                  18:50     Suspicious Subject(s)
                                                                                                                            1507300101
                                                                                                               Brandon Smith, Seve Hobb
                        Anon, 951-570-2503, reported RP ADV OF A GRAY CAR AND RED CAR WITH A AN OPEN CONTAINER ON
                        TOP OF THE VEII// ADV THE OCCUPANTS LOOK YOUNG// 6 SUBJS. Incident location was 955 S Hargrave,
                        Lyons Park, Banning. . Disposition: Unable to Locate/Gone on Arrival by U427 - Brandon Smith,
                  19:17     Domestic Violence - In Progress
                                                                                                                    15-2294/1507300103
                                                                                                Patrick Kelly, Brandon Smith, Steve Hobb
                        Yadira Orta, 475 E Theodore, Banning, 951-443-6559, reported RP CALLING FOR NEIGH WHO WIT THE BF
                        HITTING GF OUTSIDE II HMA LSW: WHI SHIRT
                        Cellular E911 Call:
                        Lat:33.938195 Lon:-116.8717
                        Service Class: WPH2. Incident location was 495 E Theodore, Banning. 10-8. Disposition: Arrest by U427 -
                        Brandon Smith.
                  19:20      Assist CPS
                                                                                                                            1507300104
                                                                                                                            Patrick Kelly
                        Dakota Meza, 951-217-6818, reported RP REQ OFFICER ASSISTANCE WHILE SHE CHECKS ON THE
                        WELFARE OF THE CHILDREN AT THE LOCH. Incident location was 270 W Wilson, Lobby, Banning. Vehicle
                        description: 1996 Suzuki, 14P3738/CA. Disposition: Assisted by U422 - Patrick Kelly. Neg On Children Being In
                        The Resd
                  19:45     Disturbing the Peace
                                                                                                                   15-2295/1507300106
                                                                                                                             Steve
                        Sunny Lantry, Banning, 951-400-9934, reported RP ADV THAT THE FEMALE FROM THE EARLIER DV IS Hobb
                        NOW THREATENING THE NEIGHBORS AND THE FAMILY FOR CALLING THE POLICE// ADV THAT
                        THEY ARE ALL SAFE INSIDE AND. THE FEMALE IS ON••THE-PORCH// ADV THE FEMALE IS 415 V
                        Cellular E911 Call:
                        Lat:33.94093 Lon:-116.86455
                        Service Class: W91I. Incident location was 493 E Theodore, Banning. REF CASE 15-2294. Disposition: Log
                        Note Only by Alexandra Avery.
                  19:50     Missing Person
                                                                                                               15-2296/1507300107
                                                                                                                        PatrickKelly
                        George Blancas, 951-448-2899, reported RP ADV THAT OVER A WEEK AGO HIS GF AND HIM GOT INTO
                                                                                                                                 A
                        FIGHT AND SHE LEFT MCDONALDS AND HAS NOT RETURNED HOME// ADV- SHE DOES NOT HAVE A
                        CELL PHONE// SALIE, MARY DOB: 02271992M Incident Oeation was 2140 WRaMsey, Lobby, Banning. .
                        Disposition: Report Taken by U422 - Patrick Kelly.




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                           EXHIBIT F




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                          BANNING POLICE DEPARTMENT


                                INTERVIEW WITH
                             DEBORA MONROE-HEAPS


                                 INTERVIEWED BY
                                   DAVID FLUTTS


                         ADMINISTRATIVE INVESTIGATION
                                 RCS #2015-044


                           SEPTEMBER 17, 2015 @ 3:00 PM




                              Transcribed by Karyn Flutts
                                           For
                         RCS Investigations and Consulting LLC
                                Post Office Box 29798
                         .Anaheim. Hills, California 92809-9798
                                    (714) 779-2300



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       Investigator David Flutts                  (DF)
       RCS Investigations and Consulting

       Debora Monroe-Heaps                        (DH)
       Director of Programs
       Riverside Area Rape Crisis Center


       DF: Okay, can you still hear me okay?

       DH: I can.

       DF: Okay, I'm gonna go ahead and read my information that I need to. Um, today's
             date is September 17, 2015, the time is approximately 3:00 p.m. My name is
             David Flutts, I'm a private investigator from RCS Investigations and Consulting.
             Our firm was retained by the City of Banning to conduct an administrative
             investigation related to a complaint received concerning possible misconduct by
             Corporal Steve Hobb.

              This is a telephone interview with Debora Heaps and, uh, Miss Heaps, as I said
              before I started the recording, uh, do I have your consent to record this?

       DH: Yes

       DF: Okay, thank you. And if you could just state and spell your name for the record.

       DH: Yes, my naiiie is—Debora Monroe-Heaps, D-e-b-o-r-a, last name Monroe, M-o-n-r-
            o-e, hyphen, H-e-a-p-s.

       DF: Okay

       DH: And I am the Director of Programs for the Riverside Area Rape Crisis Center.

       DF: Okay, and if you could can you briefly describe your overall job duties in your
             position?

       DH: Yes, um, my overall job, uh, we provide services to sexual assault victims and
            their family members. So we provide hot lining, urn, advocacy, in-person
            counseling for court groups, accompaniment, um, for victims of crimes
            specifically sexual assault to all age groups and also we provide primary
            prevention education to, urn, all ages as well, um, young people all the way to the
            elderly or seniors, and I oversee both of those departments and I also oversee our
            volunteer, urn, program and I have a responsibility to also network with the
            community at the administrative level. I also write grants for funding reasons.
            We're a non-profit 501(c)(3) and I also, um, monitor those grants.


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      DF: Okay. Urn, if you could just confirm with me, uh, to your knowledge was there a
            training session scheduled at the Banning Police Department on July 30th of
            2015?

      DH: Yes, there was, at 4:00 p.m.

      DF: And how was your organization involved in that training program?

      DH: Uh, the Riverside Area Rape Crisis Center has been providing briefing training to
           first responders at all law enforcement agencies in our service area which includes
           west to Corona, south to Temecula, and east to Cabazon, Banning Police
            Department being one of the agencies that we provide advocacy for sexual assault
            victims to.

      DF: Okay, and that partially answered my next question — So this training is provided
            to a number of law enforcement agencies, is that correct?

      DH: Yes, we provide annual training unless there is a station that needs additional
           training, usually if they've had a big influx in staffing that they want more
           training, and we spearhead that for as long as I can remember when I got here, we
           provide these services and that's been, I've been working here over 20 years.

       DF: Okay

       DH: So it was our responsibility to contact the law enforcement agencies and to
            schedule these trainings. And then, um, after a while, after I'd been doing that for
            quite some while, um, yes, I know the procedures of the forensic, urn, examiners
            — the nurses, I understand the district attorney, we network very well with him,
            and also law enforcement, we understand what their role is in providing services
            to sexual assault victims. I thought it would be wonderful if we could get the
            forensic nurses and the district attorney also to come to the briefing trainings so
            we had all four disciplines under the same roof and we could dialog and exchange
            information, update them on current laws, also update them on information about,
            urn, evidence gathering, evidence storing, how to interact effectively with sexual
            assault victims for a best result, best practice, urn, in regards to, urn, interviewing
            and providing, urn, services and getting reports for sexual assault victims.

       DF: Okay, so —

       DH: So that started happening quite some time ago that Riverside County Regional
             Medical Center bought in and started providing nursing — nurses at each one or
             our trainings. We alsO have a second, urn, evidentiary exam center and that's
             found at Rancho Springs Medical Center and, uh, Nicole Yadon who is the
             manager there, bought in and she also presents as well because sometimes they, if
             one hospital is busy than the other, they might, urn, defer to the other hospital. So
            they sort of need to know about both hospitals. Urn, unfortunately and, urn, we

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             also are fortunate that the District Attorney's Office bought into it too and has
             been providing district attorneys to also, um, help and assist the first responders
             and the law enforcement agencies on these briefing trainings. That particular day,
             a district attorney could not make it.

      DF: Okay, so on this particular day, the July 30th session scheduled at Banning PD,
           was it then your organization was the one who coordinated with all the presenters
           for that day?

      DH: Yes, we first contact all the agencies and schedule with them so, urn, uh, Chief
           Diaz coordinated with us and we scheduled through him and then we in turn let
           the other team members know cause we call ourselves a SART team — a Sexual
           Assault Response' Team — and so we coordinated with the rest of the team to let
           them know the day of the training.

      DF: Okay, so —

      DH: And we had, urn, in this last quarter, we had, um, over 30 of these trainings.

      DF: Okay, and on this particular, for this particular session at Banning PD, did you
            personally set it up with Chief Diaz or was that someone under your direction?

      DH: It was someone under my direction. It was either Vivian Amezquita or it was
             Rachel McDonald, one of our Community Education Presenters. It is their
             responsibility to get these scheduled.

      DF: Okay, and if you could, those two people, Vivian, uh, could you spell her last
           name for me if you would?

      DH: A-m-e — let me see, I am sorry. I wanna get it right. A-m-e-z-q-u-i-t-a.

      DF: Okay

      DH: A-m-e-z-q-u-i-t-a, Amezquita.

       DF: And her first name is Vivian, V-i-v-i-a-n?

       DH:

       DF: Okay, and the other person's name was what? Rachel?

       DH: Rachel, R-a-c-h-e-1, last name McDonald, M-c-D-o-n-a-l-d.

       DF: Okay, and what are their titles?

       DH: They are Community Education Presenters.



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      DF: Okay, and I believe you may have emailed this information to me but just so I
            have it for the record, urn, who specifically was present at the Banning PD
            session, if you know?

      DH: Representing out agency, it was Vivian Amezquita.

      DF: Okay, and you mentioned earlier Nicole Yadon, is that how you say her name?

      DH: Yes, Nicole Yadon is the SART Manager for Rancho Springs Medical Center.

      DF: Okay, and she was present as well?

      DH: Yes, she was.

      DF: And do you know who else specifically was present?

      DH: Yes, Sharleen Lampkin.

      DF: Okay, can you spell her name?

      DH: Um, Sharleen is S-h-a-r-l-e-e-n, last name's Lampkin, L-a-m-p-k-i-n, and she's a
           SART nurse. She's a forensic nurse.

      DF: Okay, and what is she — is she associated with a specific facility?

      DH: Oh, I'm sorry, Riverside County Regional Medical Center.

      DF: And where is that located?

       DH: In Moreno Valley.

      DF: Okay,

      DH: On Nason and Cactus.

       DF: And you said that Nicole is at Rancho Springs?

       DH: Yes, at Rancho Springs Medical Center.

       DF: And where is that located?

       DH: That's in Murrieta.
       DF: Okay, alright. And, uh, so it was just the three of them, is that correct?


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       DH:       Yes; it is.

       DF: Okay. So at some point after that training did you become aware that there had
             been some problems with the session?

       DH: Yes, I did. '

       DF: And how did you become aware of that?

          DH: Urn, I became aware of it the next day in the morning on July the 31st. The SART
                Manager of Riverside County Regional Medical Center, Gloria Davis, made a
                cellphone to cellphone personal call to me.

          DF: Okay

          DH: Because I was off that day and she, we all have each other's numbers because of
      •        the level of response that we have.

          DF: And Gloria is the manager of the forensic nurses, is that right?

          DH: Yes, she is.

          DF: Okay

          DH: At Riverside County Regional Medical Center.

          DF: And again, as you said, that's in Moreno Valley?

          DH: It's in Moreno Valley on Nason and Cactus.

          DF: Okay, and what did Miss Davis tell you?

          DH: She said that the night of the last, urn, night before at Banning that, uh, Sharleen
                had called her and told her that the team had been treated, um, very
                disrespectfully and was not received well by the Banning Police Department. She
                also said that perhaps we have to rethink this and maybe, uh, make a video and,
                uh, so that maybe they can just push it in for training reasons. She said that this
                was a big sacrifice to her team to do these trainings person, you know, uh, in
                person every day for many months, you know, for two months we'd been doing
                them, it takes a lot of time and if the law enforcement agencies are not getting
                anything out of them or don't want us there or not appreciative, that we may have
                to rethink it.

          DF: And, urn, in your experience in your position have these various trainings been
               done in person for a number of years?


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      DH: Yes, ever since I've been here.

      DF: Okay, and you said that's over 20 years?

      DH: Yes

      DF: And did Miss Davis specifically name to you any employees of Banning PD?

      DH: Uh, yes, it was an Officer Hobbs. I asked fox the name and his name was Officer
           Hobbs.

      DF: Okay, and did Miss Davis give you any details as to what kind of behavior Officer
            Hobb was presenting to them?

      DH: Uh, Sharleen said to her, who, uh, Gloria is Sharleen's manager, that he was
           dismissive, that he was rude, that he rolled his eyes at them, that he said they
           didn't have time for this stuff, that they had already had a training recently in this
           and they didn't need it, they didn't need it. •

      DF: Okay

      DH: And it was an inconvenience to them.

      DF: Okay, and, uh, to your knowledge did they in fact complete the training session?

      DH: Yes, um, he did, urn, in a very, huh, like I have to do it type way. Urn,
           disrespectful way. He took them back to the briefing room and they conducted the
           training and, urn, it was reported to me through Gloria Davis that he just rolled his
           eyes, he postured disrespectfully, urn, and was hostile.

      DF: Okay, and in regards to, in general terms to these trainings, you mentioned that
            they'd been doing these every day for two months. Is there a certain time of year
            where they get all these done?

      DH: We get them done in the summer.

      DF: Okay, and, urn, do you have an estimate as to how many actual agencies or an
           approximate number of agencies that your organization presents to?

      DH: Yeah, I could, let me see that's a good question. If you wait a minute I can find
           that.

      DF: Sure

      DH: One, two, three, four, five, six, seven, eight, nine, ten, eleven, twelve. Twelve
           agencies.

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      DF: Okay

      DH: I'm sorry. Yeah.

      DF: And you say these are all throughout the county, correct?

      DH: Uh, yes, they're in our service area, yes, in what we call western Riverside
           County.

      DF: And earlier you said that runs from Corona on the west to — what were the other
            areas?

      DH: South boundary is Temecula and, uh, all the way up to the San Bernardino — north
            is San Bernardino boundary line and east to Cabazon.

      DF: Okay, and you said on this particular training session of July 30th, urn, uh, there
            typically is a DA person there but for this one that person was not present?

      DH: Yes, they don't always make a hundred percent of them. It is on a voluntary basis
           that their DA's come up, urn, and it depends on their day of, in trials and, um, yes,
           on that particular day — we don't get a hundred percent participation with them
           but they do the best they can. I had already been to Banning Police Department
            personally, um, for one of the briefing trainings and a DA was there that day but,
           um, not this particular day.

       DF: And how long ago was that, do you recall?

       DH: Urn, I'm trying to see when that one was on my calendar. We did not end up
            conducting it or completing it because there had been a report of a bomb in a
            mailbox and they had to go out and respond to that. It is a very small agency so
            we totally understood that it took their officers out there to protect the, to protect
            the community. It was earlier in the month I believe.

       DF: Okay

       DH: I'm trying. to find it on my schedule.

       DF: Earlier in the month of July?

       DH: I believe so.

       DF: Okay

       DH: I'm trying to find it right now.


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      DF: That's fine. No, that's fine.

      DH: Because one of our presenter — if my presenters are, not available, if their day is
            too full, then I will go ahead and fill in for them.

      DF: Okay, so that was gonna be part of my next question — uh, Vivian, Nicole, and
            Sharleen, are they typically the ones who present this or do others present as well?

      DH: Okay, and I just, I'm going back — the date that I went there was July the 27th, the
            Monday before this happened.

      DF: Okay

      DH: Uh, huh, and to answer your question, yes, Nicole is normally at all the briefing
           trainings representing the agency. Once in a while she may have one of her
           forensic nurses do it. Sharleen is, urn, one of the SART nurses and all of the
           SART nurses and the manager take turns from Riverside County Regional
           Medical Center.

      DF: Okay, so they've got a group that do this on a regular basis?

      DH: Oh, yeah, yeah. All the nurses know about it at both hospitals. Our agency of
           course is well aware of it, the district attorney is well aware of it, and then of
           course Rancho Springs is well aware .of it. We've been doing this many years.

      DF: Now at the session that you said you were present at Banning on July 27th, is that
            the one that had to be cancelled because of the incident they had?

      DH: Yes

      DF: Okay. Now, urn, after you became aware of this at some point did you become
            aware that Nicole Yadon had sent an email complaint to the police department?

      DH: Yes, the very following week, u.m, she cc'd me an email that she sent to Chief
           Diaz.

      DF: Okay, and the email I have from her was dated August 3rd, does that sound like
            the right -?

      DH: That sounds right.

      DF: Okay

       DH: Yes

       DF: And that was a Monday?

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      DH: Yes

      DF: Okay. Now, urn —

      DH: She reacted a lot faster than I did.

      DF: Okay. Now, uh, from the time you found out that there had been some issues
            along with the fact that Nicole cc'd you on her email, did you speak to anyone
            other than Gloria?

      DH: Yes, on Monday morning Vivian, urn, my staff person who was there came into
           my office on Monday morning.

      DF: Okay, and did she relate in essence what you told me before?

      DH: Yes

      DF: Okay

      DH: It was, it matched up and I had not talked, I just let her talk and it matched up
             perfectly.

      DF: To what Gloria had said?

      DH: Yes

      DF: Okay. Now, uh, have there been other occasions previously where there've been
            these types of problems at other police departments?

      DH: No

      DF: Okay, is this the first in your experience that you've seen?

      DH: Yes

      DF: Okay

       DH: I mean once in a while they'll say we weren't expecting you or we forgot or, you
             know, we have had, um, an unusual, we were talking about it, an unusual amount
             of cancellations this time that when we get there, um, and there's an emergency.
             We had someone that was jumping off the bridge over the 215, we had a police
             officer that was attacked, we had an officer related shooting this year, and then we
             also had the bomb scare up at Banning. So they, they get rescheduled.

       DF: Right

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       DH: But there's just been a lot of, huh, it was, we were having a discussion about that
             — there was an unusual amount of, urn, of cancellations.

       DF: Right. Okay, now these training sessions, how long do they typically last?

       DH: Urn, they can last anywhere from, they average about a half an hour. They could
             end a little bit earlier than that or some of them, urn, there's so many questions
             and participation, um, that it can go, urn, almost to an hour.

       DF: Okay

       DH: But that's excessive: I think an hour — not excessive but that's on the longer end.

       DF: Now aside from Nicole. cc'ing you on her email did you ever actually speak to her
             about this?

       DH: Yes

       DF: Okay, when was that, do you recall?

       DH: Um, I think we ended up speaking shortly after I got her email.

       DF: Okay

       DH: And then I also talked to her when I sent my email and received an immediate
            response from Chief Diaz. And I felt that would be helpful for her too cause she
            had not heard — I don't think she had heard from them or she had just heard from
            them and, um, so this is Chief Diaz — so, urn, I wanted to let her know that I had
            received a response from him.

       DF: Okay

       DH: And I sent that on the 13th I believe.

       DF: Okay

       DH: So I must've talked to her on the 14th.

       DF: Alright, I actually have a copy of your email here. It's actually dated August 12th,
             on a Wednesday. Does that sound right?

       DH: Yes, that's — yes.




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       DF: Okay. Now during your conversation with Nicole, did she provide any details
             about the actual event and if so were they consistent with what you had already
             heard?

       DH: Well I had already read her email and when I read her email, urn, she sent it at
            8:22, my staff person had already been in my office-

       DF: Oh, okay.

       DH: So at 8:00 in the morning, so, and I did not, I stayed quiet because I wanted my
             staff person to be able to say it in her words and not to be influenced by anything
             that I had heard or I, you know, that, uh, from Gloria on Friday.

       DF: Right

       DH: And then I opened up my, she'd come immediately into my office after 8:00 a.m.
            so then when I opened up my emails, urn, there had been an email from Nicole at
            8:22 a.m.

       DF: Okay

       DH: When I opened up my email, then I saw that, urn, that she in fact had sent an
            email to, um, Banning Police Department.

       DF: Okay. So, urn, so other than — so in regards specifically to this actual incident, uh,
             you spoke personally to Vivian, to Nicole, and to Gloria, is that right?

       DH: That's correct.

       DF: Okay, was there anyone else that you spoke to?

       DH: Urn, well I ended up speaking to the Chief.

       DF: Okay, I'll get to that in a minute.

       DH: Yeah

       DF: Okay. So, uh, did you speak to — well I guess, so Vivian and Nicole were both
             obviously present. The only other person that was present was Sharleen and she
             related the experience to Gloria. Is that correct?

       DH: Correct, yes, and I heard her experience through her supervisor.

       DF: Okay, now, uh-




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      DH: Because we spearhead this, all of the team comes to us about any issues or any
            questions in regards to briefing trainings.

      DF: Okay. Now the, uh, you already said this but you — I just wanna confirm — you did
            in fact send an email to Chief Diaz on August 12th?

      DH: Yes

      DF: And you, uh, some point after that, is that when you spoke to him?

      DH: Yes

      DF: Can you describe -?

      DH: But you know what? For the life of me I can't remember the date that he called.

      DF: Okay, but it was after your email?

      DH: Oh, yes, it was, um, quite some time after the email. It wasn't, it was a little while
            after it.

      DF: Okay. Now in some of the correspondence that I was given, um, it looks like the
            chiefs assistant was out of town for some period of time. Maybe that may have
            been the delay. I'm not —

      DH: Well I sent, I sent my email directly to him from off — I didn't know who Nicole
           sent her email to.

      DF: Okay

      DH: I, I acted on my own and on August the 12th, because I had wanted to think about
             it for a while and, uh, know what I wanted to say and, uh, we cherish our
             partnerships and our collaborations with law enforcement and we don't, I didn't,
             we didn't — I personally did not want to look like, urn, to sound like we were
             complaining. I try and do this in a very professional way. We respect the
             responsibility of law enforcement and what they do to protect our community and
             how they help survivors of sexual assault and I wanted to make sure and word this
             correctly. So it took me some time to put my thoughts together on this but I did
             send it on August the 12th at 5:08 p.m.

      DF: Okay

      DH: And then he, he responded immediately. He responded in. two minutes.
      DF: Yeah, you know what? — I just, after I asked you that I looked at my documents
            here and it looks like the delay occurred with regard to Nicole's email.

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      DH: Uh, huh

      DF: Her email was to the chiefs assistant and there was a little bit of delay because
            she was out of town. So I see, I see what it was now. So it wasn't —

      DH: Yes

      DF: It wasn't yours.

      DH: It might've been, you know, shortly thereafter that the Chief personally called me
             and we had a very good, um, conversation.

      DF: Now in your conversation with Chief Diaz did you basically relate what you've
            related to me in terms of what, you know, what you, what happened?

      DH: Um, he had already received my email but he wanted to again personally speak
           with me and apologize about what happened and he wanted me to know that he
           was not okay with this type of behavior and that it would not be tolerated. And
           that he, um, um, he, he, he felt really bad cause he said he had just left before they
           got there and that he felt bad that he had not greeted them.

      DF: Uh, huh

      DH: And I, I said, well, you know, I'm a supervisor too and when I leave my office the
           staff has a responsibility to be professional when I'm not here.

      DF: Right

      DH: So, you know, and I also said that, uh, I remember having a conversation about
            I'm, it was unfortunate he, that they, the professionals were treated this way but
            I'm glad that it was the professionals and not the community because this
            could've been, um, you know, very problematic in the community as well, if he
            treats people like this. And I basically said that this, this could be a liability, you
            know, for someone to treat professionals and the community like this, you know,
            and that's why I shared it with him to protect his agency.

      DF: Okay.. Now, um, is there anything else that we haven't discussed that you think
            might be relevant to this?

      DH: Well, I just told him also, I did not know his rank, I did not know Officer Hobb's
           rank and I did share with him that I didn't know that but that if he was a man of,
           um, seniority or rank, that his behavior and posturing on these types of trainings,
           urn, might influence the less experienced officers-

      DF: Right

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      DH: And that it could, um, discredit the training. And he was very, very grateful that
           we come. He said they were a small agency and cannot afford a lot of outside
           training so they are always grateful that we come. There is a ton of new
           information in regards to sexual assault right now. It is changing very quickly and
           it's imperative that those who are responding to this crime, um, or these types of
           crimes, know what to do and how to give the community good information and
           referrals, how to get other help, uh, where to take them for forensic exams, urn,
           how far out is the, um, are the forensic exams being conducted, urn, what to
           expect at the hospital, um, also, you know, the follow up and where the evidence,
           you know, what, what to do with the evidence. There's, there's a lot that goes into
           this. So he, urn, was very grateful that we come out and we update them on a
           regular basis.

       DF: Okay. Uh, those are all the questions that I have for you at this point. Is there
            anything else you'd like to add?

       DH: I don't think so.

       DF: Okay. I'm gonna conclude the interview here in just a moment but if I could get
             you to stay on the line just for a second, I wanna speak to you about arranging
             some other interviews if you wouldn't mind.

       DH: Yes, that would be fine.

       DF: Okay, we're gonna go ahead and conclude the interview. It is September 17,
            2015, the time is about 3:30 p.m.




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       To the best of my knowledge and ability, the above transcript is a true and accurate
      :transcription of the recorded interview of Debora Monroe-Heaps by RCS Investigations
       and Consulting LLC, transcribed by Karyn Flutts for the Banning Police Department.




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                            EXHIBIT G




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                          BANNING POLICE DEPARTMENT


                                 INTERVIEW WITH
                                VIVIAN AMEZQUITA


                                 INTERVIEWED BY
                                   DAVID FLUTTS


                         ADMINISTRATIVE INVESTIGATION
                                 RCS #2015-044


                           SEPTEMBER 23, 2015 @ 3:55 PM




                              Transcribed by Karyn Flutts
                                          For
                         RCS Investigations and Consulting LLC
                                Post Office Box 29798
                         Anaheim Hills, California 92809-9798
                                    (714) 779-2300




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      Investigator David Fluffs                  (DF)
      RCS Investigations and Consulting

      Vivian Amezquita                           (VA)
      Community Educator
      Riverside Rape Crisis Center


      DF: Today's date is September 23rd, the time is about 3:55 p.m. My name is David
            Flutts, I'm a private investigator from RCS Investigations and Consulting. Our
            firm was retained by the City of Banning to conduct this administrative
            investigation. The investigation concerns allegations of potential misconduct
            against a Banning Police Officer and resulted from complaints received by
            members of the public. The incident under investigation occurred on July 30,
            2015. The RCS case number is 2015-044 and the Banning PD, IA number is 15-
            04.

              This is an interview with Vivian Amezquita and the interview is being conducted
              at 1845 Chicago Avenue in Riverside. And, uh, Vivian, do I have your consent to
              record this interview?

      VA: Yes, sir.

      DF: Please state and spell your name for the record.

      VA: Vivian Amezquita, V-i-v-i-a-n, last name A-m-e-z-q-u-i-t-a.

      DF: And what is your position here?

      VA: Conimunity Educator.

      DF: And this is the Riverside Rape Crises Center?

      VA: Yes, sir.

       DF: And as part of your position do you go to various agencies and other locations and
             give presentations?

       VA: Yes

       DF: Did you participate in a training session at the Banning Police Department on July
             30th, 2015?

       VA: Yes

       DF: And what was your particular involvement in that session? •

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       VA: We were doing a training on what our advocates do here at the Rape Crisis Center
            because we encounter police officers when that is going on.

       DF: Okay, and how many presenters were there that day?

       VA: There was three of us.

       DF: Okay, and do you know who the other two were?

       VA: Nicole and Sharleen.

       DF: . Okay, and do you know where Nicole's from?

       VA: Nicole is from the, urn, Rancho Springs Medical Center, she's a nurse there and a
             SART nurse. And Sharleen is from RUMC here in Moreno Valley, she's also a
             SART nurse from there.

       DF: Okay, and that's Riverside County Medical Center?

       VA: They changed it to Riverside University Medical Center.

       DF: Okay

       VA: That's their new official name.

       DF: Okay

       VA: But, yes.

       DF: And she's a SART nurse?

       VA: SART nurse as well.

       DF: Okay

       VA: Uh, huh

       DF: And have you provided this sort of training to other law enforcement agencies?

       VA: Yes

       DF: Have you ever presented at the Banning Police Department?
       VA: Yes, last year.


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       DF: Okay, and do you typically provide this training to agencies on a yearly basis?
       VA: Yes

       DF: Okay. Please describe what occurred when you arrived to conduct the training
            that day.

       VA: We arrived, we let the person at the front desk know that we were there and they
            said they were gonna let someone know to come out and get us. Um, the officer
            came out and he asked us what we were doing there and we explained that we
            were there for our SART training, our yearly SART training. Uh, he said, well,
            we just had some nurses here like a couple months ago doing this training. Urn,
            and we said, well, that's not possible — Nicole was responding this time — she
            said, that's not possible because we are the only nurses that provide this training
            and we were here last year, it's a yearly thing. And he said, no, there were nurses
            here not too long ago, um, and we already had this training. And he asked us for
            our other contact which was my position to respond, that it was Alex Diaz. Um,
            and he said, oh, that's sergeant, rolled his eyes and said, come inside.

       OF: I'm sorry, say that part again about Diaz.

       VA: Yes, he said, who is your contact? And I said —

       DF: So he asked you that?

       VA: Yes, he asked me that because I have contact information. We are the ones that
            set it up.

       DF: Okay, your organization's the one who sets the training up?

       VA: Yes, yes, we do. We do all the calling. Urn, and I looked in my phone and that's
            Alex Diaz and he said, oh, that's sergeant, rolled his eyes, said, alright, come
            inside.

       DF: And do you know the officer's name?

       VA: I don't remember his name.

       DF: Okay, and when he said, Alex Diaz, oh, that's a sergeant and then he rolled his
             eyes? Okay, did you understand what he meant by that?

       VA: No

       DF: Do you know what position Alex Diaz has there?
      VA: No


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      DF: Okay, he's the Chief of Police.

      VA: Okay

      DF: Okay

      VA: Okay

      DF: So how would you, uh, if you could just in general terms, describe the officer's
            demeanor at that point?

      VA: I think the thing that mostly made us realize that there was something wrong was
             he was mad that we were there. Um, and I think, you know, we always get those
             questions, what are you doing here? What can I help you with? But he was upset
             at the fact that we were there, um, and that's what caused the awkwardness, the
             tension, and, um, when we walked into the room, you could feel the tension. So
             we thought maybe the problem was with everybody and that we were there, urn,
             and so it was really hard to present and —

      DF: Okay, so you initially had contact with the officer when the officer came out and
            greeted you at the lobby?

      VA: Uh, huh

      DF: Okay. Um, you said that it was obvious that the officer was angry? How, how do
            you -? Is that right?

      VA: Yeah. Yes.

      DF: Okay, um, describe how you had that opinion based on what he was doing.

      VA: By the way that he was saying things. He said, well, what are you guys doing
           here? It wasn't just like a normal, well, how can I help you? You know? It was
           more of like, well the attitude. It was the attitude that he was giving, urn, and
           that's when we all kind of looked at each other and it's, we, we noticed that he
           was mad. Urn, I was nervous trying to find the name of the contact because I
           thought maybe we did make a mistake and we weren't supposed to be there. But I
           had it on my calendar, it said Alex. Diaz, that's my contact, and that's when he let
           us in.

       DF: And that's when the officer said, oh, sergeant?

      VA: Yeah, oh, that sergeant, rolled his eyes and, come on in.
      DE: Okay, and then, um, so how fax ahead of time had that session been scheduled, do
            you know?

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      VA: We schedule it from one to two months ahead of time. So it should've been at
           least a month.
      DF: Okay

      VA: Yeah

       DF: And so then, um, did the officer then escort you somewhere?

       VA: Yes, we were escorted to their briefing room.

       DF: Okay, and where's that located in relation to the lobby, do you remember?

       VA: Uh, you walk into the room, I'm sorry, through the door, uh, and there's a couple
            turns that you have to make and then it's the briefing room.

       DF: Okay

       VA: Urn, when you get out, it's a lot more complicated. We were lost when we got out
             but when going in, he led us in, so.

       DF: Okay

       VA: It's a lot easier to follow him in.

              Okay. Now, uh, when he led you into the briefing room you said, I think you said,
              right?

       VA: Uh, huh, yes. Yes.

       DF: Um, how many other officers and or employees were present in there at that time?

       VA: I believe there were about four or five in there.

       DF: Four or five total?

       VA: Yes

       DF: . Were they all officers?

       VA: Yes

       DF: Were they wearing uniforms?
       VA: Yes, all of them were.


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       DF: Like standard police uniforms?

       VA: Yes
       DF: Okay, and correct me if I'm wrong but I, this training was scheduled for 4:00
            p.m.?

       VA: Yes, it was 4:00 p.m.

       DF: Okay

       VA: Uh, huh

       DF: Now you said earlier that when you walked into the briefmg room there was
            obvious tension?

       VA: Yes

       DF: You said you could feel it?

       VA: Yes

       DF: Describe what you mean by that.

       VA: When we walked in, urn, they looked at us but would not make eye contact and it
            looked like, it felt like they were kind of already maybe had known that we were
            coming and it was just this very awkward thing that we were walking into and no
            one wanted to give us eye contact. We weren't greeted by anybody, we usually
            are, urn, maybe we're just used to that. Uh, we weren't greeted by anybody. And
            the reason is because later on more officers walked in, there was one woman who
            did not have a uniform, she was just dressed professionally, and their attitude was
            a lot different to the people who were already in there. They were the only ones
            who asked us questions, who actually acknowledged us or whatever it was, but
            the people who were already in there did not at any point.

       DF: So how long had the training been going on before these other people came in?

       VA: They actually walked in before we started so about five minutes after we walked
             in.

      •DF: Okay

       VA: Yes

       DF: And you said one was a female?

       VA: Yes, only female.

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      DF: And not in a uniform?

      VA: Not in uniform, professional clothing.

      DF: Okay, and who was the other one? Male? Female?

      VA: They were males.

      DF: Okay

      VA: Yes

      DF: Were they in uniform?

      VA: They were all in uniform.

      DF: Okay

      VA: Other than her.

      DF: So eventually there ended up being seven or eight people?

      VA: Uh, huh.

      DF: Is that right?

      VA: Uh, huh, yes, yes.

      DF: And so would it be accurate to say that you didn't get the same feeling from those
            as you did from the initial group?

      VA: Yes

      DF: Okay. How long did the training session last?

      VA: I'm gonna say about 15 minutes.

      DF: And is that a typical length for that kind of training?

      VA: Yes, urn, sometimes when it's all three of us going, it might go max 20 to 30
           minutes if there's questions. But this one, 15, about 15 minutes, yes.

      DF: Okay, and you said that the people who came in a little later than the original
           group actually asked some questions?


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       VA: Yes, the woman was the one that mostly — without the uniform —

       DF: Okay

       VA: She was the one that mostly acknowledged us and asked us questions and
            clarified and. that was it.

       DF: Did you get the impression that she was a police officer?

       VA: I wasn't sure what she was.

       DF: Okay •

       VA: Urn, I never, I wanted to ask but I didn't. I don't know what she was.

       DF: Okay, and, urn, did all three of you actually present segments of the training or
            how did you do that?

       VA: Yes, I go first, urn, and then the nurses go after me and they pick who goes first.

       DF: Okay

       VA: Urn, I believe it was Sharleen who might've gone first before Nicole.

       DF: Okay, and so both Nicole and Sharleen had portions that they presented?

       VA: Yes

       DF: Okay, and at the end of the session, um, again, you said it was about 15 minutes
            total?

       VA: Uh, huh

       DF: Okay, and, urn, what happened at that point, if anything?

       VA: Well, urn, well during our presentation, it was the normal thing other than — the
            same officer who had let us in, uh, he was sitting at the front, um, very serious,
            kind of just leaning back in his chair. Um, and I know, the only thing that I did
            notice different from our usual is Sharleen, Sharleen stuttering not really able to
            do any, much of her presentation. I don't think she said everything that she was
            supposed to say and she did clarify on the way out that she didn't say everything
            she was supposed.to say. •

       DF: Uh, huh




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       VA: Because of her tension or her feeling that she just was not comfortable. She
            was...intimidated was the word that she used.

       DF: So she told you that afterward?

       VA: Yes

       DF: Okay, but it was obvious that she was having trouble?

       VA: She was stuttering and wasn't really saying much. She wasn't, she was kind of
            looking down at her paper, didn't want to make eye contact, urn, yes.

       DF: And you've attended these training sessions with her before?

       VA: Yes

       DF: Have you seen her like that before?

       VA: No, never. No.

       DF: Okay, so that was out of character?

       VA: Yes, yeah.

       DF: Okay. Now during the actual training portion of the 15 minutes, did the original
             officer, did he say anything to.any of you?

       VA: No

       DF: Okay, and, urn, when, was there an issue as you were leaving, urn, you got lost or
             something?

       VA: We got lost.

       DF: Okay

       VA: Because apparently there are two different ways that you can get out, but one way
             you actually are at a dead end. So we had to find our way and go right back
             around and try to fmd our way out. Urn, usually we're led out so we're very used
             to being, just escorted out of the room and everything, um, but we weren't this
             time so we kind of found our way out eventually.

       DF: Okay

       VA: Yeah


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      DF: So in your experience providing training at other police agencies, typically is it
            your experience that you're usually escorted out?

      VA: Yes, we're always escorted out.

      DF: Okay

      VA: Yes

      DF: And does that always happen?

      VA: Yes

      DF: And what happened when your session was over? Did anyone say anything to
           you?

      VA: Urn, some of them said thank you. The woman said thank you, urn, and we just
           said, alright, thank you, and we just — since nobody stood up to lead us out, we
           just led ourselves out.

      DF: Okay

      VA: We didn't even ask.

      DF: Okay, so the original officer, you said that during the actual training he was seated
            at the front?

      VA: Yeah, he was right at the front.

      DF: Okay, was he facing you?

      VA: Yeah, he was, um, he was looking at us, yeah.

      DF: Okay

      VA: He was.

      DF: And when you were giving the training, were you facing the group?

      VA: Yes

      DF: Okay, and so when you completed, um, did that original officer say anything to
            you at all?

      VA: I don't remember him saying anything, no.


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      DF: Okay. Did anyone make any effort to escort you anywhere?

      VA: No

      DF: Did anyone say anything to you as if they were going to escort you out?

      VA: No

       DF: Now, urn, I'm just gonna ask you your opinion now — What, in your opinion that
             day, what were the concerns or what was your opinion about the way you were
             treated there?

      VA: I just thought it was very disrespectful because we had already agreed with
            someone above this officer, that we would be coining into their agency to present.
            And I just thought that if he did have an issue, which is fine, if you have an issue,
            that's great, but that he should've gone to his superior and not directly to us
            because we have a — we were already in agreement. Um, so I just think that the
            way that he treated us was not fair, urn, because we were there as guests and we
            voluntarily, and giving this training to them for free. Urn, so if, I just think that he
            could've done it differently if he had an issue and could've gone to his superior
            instead of us.

       DF: And earlier you described him as being angry, is that right?

      VA: Yeah, uh, huh.

       DF: How else would you describe him that day?

       VA: He just seemed very frustrated and, hum, I didn't think that maybe we were the
            only issue, just seemed like he was just frustrated. But he seemed angry at our
            presence.

      DF: Now, urn, after the training session that day did you and Nicole and Sharleen —
            Sharleen, right?

      VA: Yes

      DF: Did you discuss what happened?

      VA: Yes

      DF: Where did you do that? Outside?

      VA: Yes, we, all the way until we got outside to our, urn, to the parking area.

       DF: And what did you talk about?

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       VA: We, well, Nicole was the one, the first one that brought it up — Like, what was
            that? And that's how we all started discussing and Sharleen said that she didn't
            finish or say everything. That she kind of forgot all the stuff that she was
            supposed to say. Urn, I said, yeah, I was very, just quick to the point because I just
            wanted to get out of there. And Nicole said the same thing but Nicole made the
            point and said, I'm going to file a complaint because that was not okay.

       DF: Did the three of you drive there separately?

       VA: Yes

       DF: Okay, and, um, do you recall where you came from that particular day?

       VA: I think I might've come from here, the office.

       DF: Okay

       VA: Yes

       DF: And my understanding is Nicole's office is in Murrieta, is that right?

       VA: Yes, yes it is.

       DF: And, uh, Sharleen is in Moreno Valley?

       VA: In Moreno Valley, yes.

       DF: Okay. Now when you, after this event, did you report this to anyone here?

       VA: Yes, first, um, my Executive Director, Larry McAdam.

       DF: How do you spell his name?

       VA: L-a-r-r-y, and McAdara is M-c-A-d-r, uh, a-r-a, sorry.

       DF: M, small "c"?

       VA: Yes

       DF: Okay, McAdara?

       VA: Yes
       DF: Okay, and he's the Executive Director?


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      VA: Executive Director.

      DF: When did you say something to him about this?

      VA: As soon as I came into the office.

      DF: And was that, was that the same day?

      VA: No, that was actually the next day because I went home after that since our shift is
            over..

      DF: Okay

      VA: So it was the next day.

      DF: So this, from my recollection, this event was on a Thursday?

      VA: Thursday, uh, huh.

      DF: Okay, so you spoke to him on that Friday?

      VA: Friday.

      DF: Was it in the morning?

      VA: Yes

      DF: And did you basically tell him what you just told me?

       VA: Yes

       DF: As far as what had gone on?

       VA: Uh, huh

       DF: What if anything did he say?

       VA: Uh, I told him, urn, everything. He of course was disappointed and he approved of
             the fact that Nicole was going to file a complaint because Nicole had gotten the
             badge name and everything — or his name, um, and he said that he supported that
             and that we were gonna have to talk to our Director of Programs, which is Debora
             Heaps, when she got back. Um, but he was upset, urn, because again, we all go
             through the effort of making this training and of course he's gonna be upset when
             we're disrespected.

       DF: And did you at some point eventually speak to Debora Heaps?

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      VA: Yes

      DF: And you said she's the Director of Programs?

      VA: Yes

      DF: And when did you speak to her, do you remember?

      VA: I believe that must've been Monday because she was gone that weekend.

      DF: Okay, so the following Monday?

       VA: Yes

      DF: Okay, and describe that conversation.

       VA: Uh, she had already gotten a call from, um, I believe she is, uh, a director over at
            the Moreno Valley Hospital, uh, so it's Sharleen's supervisor. So she had already
            gotten a call from Gloria Davis, is her name, and so she already knew some of the
            details, um, but I let her know my side and what I had seen and she said, yeah,
            we're gonna be filing a complaint and she agreed to send an email to Alex Diaz.

       DF: Okay, and was it your understanding that Miss Heaps eventually did send a
            complaint?

       VA: Yes, she, uh, read me the email before sending it because we were, urn,
            collaborating on that, so I could give her the details of what I had experienced.

       DF: And did she collaborate with you on that to make sure she had the correct
            information?

       VA: Yes

       DF: And, urn, so did you ever actually see the actual email?

       VA: Yes

       DF: Okay, and Debora shared that with. you?

       VA: Yes

       DF: Okay. Urn, now after dealing with Debora on this, did you have any other
            involvement with the situation?

       VA: No

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       DF: Okay. Did you ever speak to Sharleen or Nicole again about this?

       VA: No

       DF: Okay, and, uh, you said earlier that, was it your understanding that Nicole also
            sent a complaint?

       VA: Yes, Debora told me.

       DF: Okay

       VA: Uh, huh

       DF: And just so I'm clear, you stated that Gloria Davis, urn, who is Sharleen's
            manager,

       VA: Uh, huh

       DF: -apparently had contacted Debora over that weekend?

       VA: Yes

       DF: Okay. Okay, is there anything else you'd like to add?

       VA: No, I think that's it.

       DF: Okay, is there anything else that occurred that we did not cover?

       VA: No, that's it.

       DF: Okay. Uh, we're gonna go ahead and conclude the interview. It is approximately
             4:12 p.m.




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      To the best of my knowledge and ability, the above transcript is a true and accurate
      transcription of the recorded interview of Vivian Amezquita by RCS Investigations and
      Consulting LLC, transcribed by Karyn Flutts for the Banning Police Department.




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                       CITY OF BANNING POLICE DEPARTMENT


                                  INTERVIEW WITH
                                    GLORIA DAVIS


                                  INTERVIEWED BY
                                   DAVID FLUTTS


                         ADMINISTRATIVE INVESTIGATION
                                 RCS #2015-044


                           SEPTEMBER 24, 2015 @ 10:10 AM




                               Transcribed by Karyn Flutts
                                           For
                          RCS Investigations and Consulting LLC
                                 Post Office Box 29798
                          Anaheim Hills, California 92809-9798
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      Investigator David Flutts                    (DF)
      RCS Investigations and Consulting

      Gloria Davis                                 (GD)
      Program Manager
      Sexual Assault Response Team


      DF: Today's date is September 24, 2015, the time is about 10:10 a.m. My name is
            David Flutts, I'm a private investigator from RCS Investigations and Consulting.
            Our firm was retained by the City of Banning to conduct this administrative
            investigation. The investigation concerns allegations of potential misconduct
            against a Banning Police Officer and resulted from complaints received by
            members of the public. The incident under investigation occurred on July 30,
            2015. The RCS case number is 2015-044 and the Banning PD Internal Affairs
            case number is 15-04.

              This is an interview with Gloria Davis and the interview is being conducted at the
              Riverside Regional Medical Center, is that correct?

      GD: Correct

      DF: Okay. —in the City of Moreno Valley. And Miss Davis, do I have your consent to
            tape record this interview?

      GD: Uh, you do.

      DF: And can you please state and spell your name?

       GD: Uh, Davis, D-a-v-i-s, Gloria, G-1-o-r-i-a.

      DF: And what is your position here?

       GD: I am the Program Manager of the Sexual Assault Response Team.

       DF: And can you briefly describe your job duties?

       GD: Uh, I manage the program that — I manage the program that is responsible for the
             care of sexual assault victims and child sexual assault.

       DF: Okay, and as part of your position do you supervise a number of SART nurses?

       GD: I do.

       DF: Okay. Did you become aware of a training session scheduled at the Banning
            Police Department on July 30th, 2015?

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      GD: I did.

      DF: And how did you become aware of that?

      GD: Uh, I had requested that my day nurse, Sharleen Lampkin, do the briefing. Uh,
           she called me immediately after she left Banning and was very upset at how they
           were received at the briefing.

      DF: Okay, and, urn, so Sharleen Lampkin, and I'm gonna spell that for the transcriber
            — it's S-h-a-r-l-e-e-n, L-a-m-p-k-i-n, is that correct?

      GD: Correct

      DF: Okay, and, uh, was she the only staff member of yours that was involved in this
            training?

      GD: Uh, she was my only staff member there.

      DF: Okay, and do you know who the other people involved in the presentation were?

      GD: Uh, I believe that Nicole Yadon was present and, uh, there was also, uh, Vivian
           Amezquita from Riverside Area Rape Crisis.

      DF: Okay, and I'm gonna spell that as well — it's Nicole, Yadon is Y-a-d-o-n, and
           Vivian, V-i-v-i-a-n, and her last name is Amezquita, A-m-e-z-q-u-i-t-a.

      GD: Correct

      DF: Now, um, so at some point after this training you became aware there had been
            some problems?

      GD: It was immediately after the training, she called me on her way home and said she
             was upset at how they were received.

      DF: And this is Sharleen who called you?

      GD: Sharleen

      DF: Okay, and can you tell me what specifically she said to you?

      GD: Well, she said when they arrived at the training, uh, the officer that came out
           asked what they — when they arrived at the training, they called them, usually
           they'll call and somebody will come out and escort them into the police briefing.
           Well, an officer came out and he, uh, said, what, what are you guys here for? And,
           um, one of them said what they were there for, for the briefing, and he said, um,

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              we, we don't have any briefing scheduled today, I don't know what you guys are
              doing here. And I'm kind of paraphrasing what she said.

      DF: Yeah, okay.

      GD: And, uh, as I understand it, Vivian pulled out her phone and she says, well, let me
           check and see who scheduled the appointment. And she looked on her phone and
           she said, oh, this was scheduled by the Chief. And the officer rolled his eyes and
           he said, this is, this is a big waste of our time and I don't know why, uh, why —
           you guys were just here, uh, you were here just like a few weeks or months ago. I
           don't know why we have to go through this again. And, uh, Vivian, I think it was
           Vivian, said, oh, no, we only come out once a year, we haven't been out here, you
           know, recently.

      DF: Okay

       GD: And he, uh, apparently he argued that point and then he said, oh, okay, okay, I'll
            take, I'll take you in and, uh, you know, just get it over with as quickly as you
            can. He kept looking at his watch and rolling his eyes and muttering under his
            voice, this is just the biggest waste of time.

       DF: Okay, and all this information was reported to you by Sharleen?

       GD: Yes

       DF: And she called you right after the training?

       GD: Right after the training because she was upset.

       DF: Okay

       GD: So then she said when they went into the training that he sat down, he, uh, folded
             his arms, he kept rolling his eyes and looking at his watch and he made her very
             uncomfortable. So she said the other police officers that were there were very
             respectful, very nice, but it was, it was that one particular officer —.uh, she told me
             his name — I wanna say Hobbs or something like that, I can't remember offhand.

       DF: Okay, alright.

       GD: But she said he kept, uh, just looking at his watch, rolling his eyes, and just made
            the whole atmosphere very uncomfortable and she said, I, I felt really — her
             personally, she said, I felt very unwelcome there.

       DF: Okay

       GD: So, um —

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      DF: So once you had this information from Sharleen, what if anything did you do?

      GD: Well, I'm trying to remember what day of the week it was, I think it was like a
           Thursday or Friday, it was towards the end of the week, and I really didn't
           address it until the following week. And I was originally gonna call the Chief
           myself and then. I thought, you know, I'm not, I'm not the person that puts these
           trainings on, I should go to the person that arranges them. So I called Debora
           Heaps, the director of the Riverside Area Rape Crisis, and I relayed my nurse's
           comments and sentiment and I basically told Debora, you know, I said, for me to
           send my nurse out there, I said, it's a very, it's very, very hard for scheduling
           because we have a very, very small department. This is not easy to send people to
           briefings. So to send, send my nurse to a briefing where she's not welcome and
           the information is not welcome and they don't want her there, I said, if that's the
           case, then I'm not going to send another employee to Banning. I said, you can
           schedule the briefings, you can do them yourself, but I'm not wasting my
           resources at a facility that's not welcome to hear what we're there to show to
           them.

      DF: And in your position, uh, have you sent Sharleen as well as others to these types
            of trainings before?

      GD: Well, yes, we do it once a year and we send, I send, I, I go most of the time but
           since Sharleen lives out in Banning, I said, you know, why don't you do the
           briefmg and then from there you can go home.

      DF: Okay:

      GD: So, uh, most of the time, urn, we, we do send a nurse, either myself or one of my
            staff to a briefmg and we go to all of the law enforcement agencies that do this
            briefing once a year.

      DF: Okay, and had you ever personally experienced any problems such as this?

      GD: No

      DF: Okay, and had you ever heard any of your staff members describe any problems
            such as this?

      GD: No, no, I, this is the first time we've ever had an issue at a briefing. Most of the
           time they're very welcomed to hear the information because there's new officers
           that are constantly, you know, coming in and out of the department and the whole
           purpose of the briefing is to help them know what to do and what the process is to
           follow with sexual assault victims.




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      DF: Okay, and aside from your phone call to Debora Heaps did you discuss the
           situation with anyone else?

      GD: No

      DF: Okay. Alright, is there anything else you'd like to add?

      GD: No

      DF: Okay. I don't have any more questions. We're gonna go ahead and conclude the
            interview. It is 'approximately 10:20 a.m.




       To the best of my knowledge and ability, the above transcript is a true and accurate
       transcription of the recorded interview of Gloria Davis by RCS Investigations and
       Consulting LLC, transcribed by Karyn Flutts for the City of Banning Police Department.




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                      CITY OF BANNING POLICE DEPARTMENT


                                INTERVIEW WITH •
                               SHARLEEN LAMPKIN


                                 INTERVIEWED BY
                                   DAVID FLUTTS


                        ADMINISTRATIVE INVESTIGATION
                                RCS #2015-044


                          SEPTEMBER 24, 2015 @ 10:20 AM




                              Transcribed by Karyn Flutts
                                          For
                         RCS Investigations and Consulting LLC
                                Post Office Box 29798
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      Investigator David Flutts                  (DF)
      RCS Investigations and Consulting

      Sharleen Lampkin.                          (SL)
      Registered Nurse
      Sexual Assault Response Team


      DF: Today's date is September 24, 2015, the time approximately 10:20 a.m. My name
            is David Flutts, I'm a private investigator from RCS Investigations and
            Consulting. Our firm was retained by the City of Banning to conduct this
            administrative investigation. The investigation concerns allegations of potential
            misconduct against a Banning Police Officer and resulted from complaints
            received by members of the public. The incident under investigation.occurred on
            July 30, 2015. The RCS case number is 2015-044 and the Banning Police
            Department Internal Affairs case number is 15-04.

             This is an interview with Sharleen Lampkin and the interview is being conducted
             at the Riverside Regional Medical Center in Moreno Valley. And, uh, do I have
             your consent to tape record this interview?

      SL: Yes

      DF: Please state and spell your name.

      SL:    Sharleen Lampkin, S-h-a-r-l-e-e-n, Lampkin, L-a-m-p-k-i-n.

      DF: And what is your positon here?

      SL: I'm an RN.

      DF: And do you have a specific area of assignment?

      SL: SART, the Sexual Assault Response Team.

      DF: And what axe your job duties, briefly, if you would describe them?

      SL: Um, I do sexual assault exams for people that are brought in, urn, with that
           complaint. Um, I testify for cases, I do some outreach in the community, we do
           briefings in police departments and schools and, uh, anything else.

      DF: And did you participate in a training session at the Banning Police Department on
            July 30, 2015?

      SL: Yes


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      DF: What was your specific involvement in that training?

      SL: Urn, I was supposed to talk about, urn, the different things that the officers are to
            do when they bring patients here for an exam. Urn, what they do prior to coming,
            calling us and such.

      DF: Is the facility here, is this the facility where officers would bring sexual assault
             victims?

      SL: Yes

      DF: Okay, and what other presenters were present that day?

      SL: Urn, we had, I think that day, um, there was, uh, Nicole from another facility
            down in Rancho Springs. She's the coordinator down there, and someone from
            the Riverside Area Rape Crisis Center. I believe her name was Vivian, I'm not, I
            can't remember for sure.

      DF: Okay, so it was the three of you?

       SL: Yes

       DF: Okay. Please describe what occurred when you arrived to conduct the training
            that day.

       SL: Um, well we arrived there, we were waiting, we, you know, checked in with
            whoever met us at the window and, urn, we waited for a while. Urn, an officer, I
            can't remember his name, he came to the door, he wanted to know, you know,
            what we were there for because, he was like, you guys just came, we just had one
            of these trainings, you know, a week ago or a couple of weeks ago. I was like, no,
            that couldn't've been true because we were here earlier and we, uh, earlier that
            week was our first training at Banning.and we had gotten turned away because of
            some bomb threat. So we were, you know, we understood and we left. So this was
            our second training for the year, we do this annually. And so we told him that and
            he was like, no, you guys were just here a couple of weeks ago. We're like, we're
            pretty sure that we weren't. So he's like, huh, well, who sent you? Who okayed
            this? And so, who set this up? So the, urn, the Rape Crisis Center Coordinator, she
            looked up in her phone to see who set it up and she told him the name of the guy.
            He was like, huh, that's our boss. He was like, huh, how long is this gonna take?
            Come on in. And we didn't, it was very awkward because we didn't feel welcome
            at all from him. The rest of the officers were very, you know, cordial when we
            went down there, they were responsive, they, you know, asked questions and were
            appropriate but he was very unhappy for us to be there and, you know, glared at
            us the whole time.

       DF: Glared at you?

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      SL: Yeah

      DF: Okay

      SL: We just kind of avoided eye contact with him.

      DF: You said when you arrived that day you had to wait some time in the lobby area?

      SL: Yeah

      DF: How long do you think you had to wait?

      SL: Probably another 10 or 15 minutes after the time we were supposed to start.

      DF: And what was the start time supposed to be?

      SL:     Uh, I can't remember if it was 3:00 or 4:00, I can't, I really can't remember.

      DF: Okay, and so how would, in general terms, how would you describe the officer's
            demeanor at the initial contact at the front lobby?

      SL: Irritated

      DF: Okay, irritated at the fact that you were there?

      SL:     Yeah, and not really, he did not really seem to want to listen to us.

      •DF: And you mentioned earlier something about you, in general you felt not welcome
             there?

      SL: By him.

      DF: Okay

      SL: The other officers, you know, they did not even seem to be aware of any of what
            was going on.

      DF: Okay, so you didn't feel any of that kind of tension or that kind of demeanor from
            anyone else?

       SL: No, just him.

       DF: Okay, and did the initial officer, you said you didn't remember his name, right?
      SL: No


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      DF: Okay

      SL: I can't remember his name.

      DF: Did he eventually walk you in somewhere into the building?

      SL: Yeah, he walked us in to the, where they meet.

      DF: Was it a briefing room?

      SL: Briefing room.

      DF: Okay, and how many other officers or employees were present if you recall?

       SL:   I can't remember, probably 15, 20 officers.

      DF: And did you proceed to provide the training?

       SL: We did.

       DF: And did each of the three of you, you, Nicole, and Vivian, did you each have a
             segment of the training?

       SL: We did.

       DF: Okay, and was that all completed?

       SL: Uh, huh, we were able to complete it — and we also...

       DF: You were able -?

       SL: We were able to complete it, we also gave the part for the district attorney
            because we had some stuff from them. The DA wasn't able to come.

       DF: Okay, so these types of trainings, usually there's a representative from the DA's
             office?

       SL:    Correct

       DF: Okay. So how long did the training session last?

       SL: Hum, probably no longer than 10 minutes. We were real, we were fast.

       DF: And is that shorter than typical?



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    SL:    Urn, it's probably about average. Sometimes it goes a little bit longer, um, or, I
           mean, that's about average. But we were, we were deliberately, we did not want
           to linger.

    DF: Okay, and why was that?

    SL: Because he was, he specifically asked, how long is this gonna take? So we felt
          like we were —

    DF: Okay

    SL:    -a bother.

    DF: So other than that initial officer did you have any other issues with any of the
          other employees there?

    SL: No

    DF: And was there any other interaction between any of the three of you and any of
          the other employees?

    SL: No

    DF: And the original officer, was he present in the briefing room?

    SL: He was.

    DF: Okay, and where was he sitting, if he was?

    SL: He was seated, if I'm in the front looking towards him, he was over in the right
          corner, right in front.

    DF: Your left, the right of the room? Your left?

    SL: Some, I'm facing the room, my right.

    DF: Your right, okay.

    SL:    Yeah, at the left of the room towards the front.

    DF: Okay, and was he facing you?

    SL: He was facing us.
    DF: Okay, and were all three of you up at the front?


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    SL: No, we would, in the back and then we'd come up front to —

    DF: For your segments?

    SL: Yeah

    DF: Okay, and when you were up there giving your portion of the training were you
          facing the group?

    SL: Yes

    DF: Okay, did you, did the initial officer, did he have any, any other, did you see him
          doing anything else? Any visual things? Was he, any mannerisms? Did you see
          him doing anything else?

    SL:    I didn't look at him.

    DF: Okay

    SL: Yeah, I —

    DF: Did you purposely not look at him?

    SL: I purposely did not look at him.

    DF: Okay, and why was that?

    SL: Uh, well, I felt uncomfortable.

    DF: Okay

    SL: Yeah

    DF: Now, urn, prior to this day, July 30th, had you given these types of trainings
    before?

    SL: Yeah

    DF: And, at other agencies?

    SL: Yeah

    DF: And have you ever had any problems similar to this?
    SL: No. I've had people look bored but, you know, but nothing — they were,
         everybody's been very polite.

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    DF: Okay. Now after the training was completed, uh, did you have any further
         interaction with the initial officer?

    SL: No

    DF: And, urn, did you, uh, was there an issue with getting out of the building that day?

    SL: No, someone else, I think, escorted us out. He didn't escort us out, someone else
          did.

    DF: Okay, so you were escorted out by someone?

    SL: Yeah

    DF: Now is that typical when you're at these agencies?

    SL: Yes

    DF: That someone escorts you in and out?

    SL: Yes

    DF: Okay, and I think I may have asked this but, urn, did that initial officer say
         anything else to you or any of the other, the three of you?

    SL: No, nothing.

    DF: So if you could summarize your general concerns about what happened that day?

    SL: Um, I guess when I got back, probably as soon as, all of us were like, what the
         heck? Cause we were, all of the three of us were kind of, we didn't understand
         where this animosity was coming from. And when I, as soon as I got to my car I
         called my boss and I'm like, I, I felt very unwelcome and very uncomfortable.
         That was like the worst briefing I've ever been to.

    DF: And did the three of you, you, Nicole, and Vivian, did you talk right afterward?

    SL: Yeah, just briefly on the way to the car. We were just like, what the heck? Yeah,
          all of us were confused and, yeah, the same..

    DF: And your boss is Gloria?

    SL:     Gloria
    DF: Okay, and you talked to her right afterward?


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    SL:     Right afterwards.

    DF: And did you relay, you know, in essence what happened that day?

    SL: Yeah, at that day, I, I can't remember the guy's name. I knew his name then and I
          called her up. I'm like, his name is...you know, whatever his name was, and I was :
          like, I think, um, I said, I think Nicole's gonna, you know, call and say something.
          But I was like, I think you should too.

    DF: Okay, so when you were still there that day with Nicole, Nicole indicated that she
          was going to call someone or complain somehow?

    SL: Yeah, complain, yeah.

    DF: Okay, did she say specifically how she was going to do that?

    SL:     She didn't.

    DF: Okay, did you ever talk to her again after that about this?

     SL: No. No, I let Gloria — once I relayed it to Gloria, I let that out of my hands.

    DF: Okay

     SL:    I tried to stay out of that.

     DF: So you had no more involvement with it?

     SL: Nah, uh.

     DF: Okay. Did you ever become aware of anyone actually sending any sort of
          complaints to the Banning Police Department?

     SL: No

     DF: Okay. Did anything else occur that day when you were present there other than
          what we've already talked about?

     SL: No

     DF: Okay. Is there anything else you'd like to add?

     SL: No
     DF: Okay, we're gonna go ahead and conclude the interview. It is about 10:30 a.m.,
           September 24, 2015.

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    To the best of my knowledge and ability, the aboVe transcript is a true and accurate
    transcription of the recorded interview of Sharleen Lampkin by RCS Investigations and
    Consulting LLC, transcribed by Karyn. Fluffs for the City of Banning Police Department.



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                            EXHIBIT J
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                    CITY OF BANNING POLICE DEPARTMENT


                               INTERVIEW WITH
                                NICOLE YADON


                               INTERVIEWED BY
                                 DAVID FLUTTS


                      ADMINISTRATIVE INVESTIGATION
                              RCS #2015-044


                        SEPTEMBER 28, 2015 @ 10:00 AM




                            Transcribed by Karyn Flutts
                                        For
                       RCS Investigations and Consulting LLC
                              Post Office Box 29798
                        Anaheim Hills, California 92809-9798
                                  (714) 779-2300




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    Investigator David Flutts                   (DF)
    RCS Investigations and Consulting

    Nicole Yadon                                (NY)
    Sexual Assault Coordinator
    Rancho Springs Medical Center


    DF: Today's date is September 28, 2015, the time is 10:00 a.m. My name is David
          Flutts, I'm a private investigator from RCS Investigations and Consulting. Our
          firm was retained by the City of Banning to conduct this administrative
          investigation. The investigation concerns allegations of potential misconduct
          against a. Banning Police Officer and resulted from complaints received by
          members of the public. The incident under investigation occurred on July 30,
          2015. The RCS case number is 2015-044 and the Banning Police Department
          Internal Affairs case number is 15-04.

           This is an interview with Nicole, is it Yadon?

    NY: Uh, huh.

    DF: Nicole Yadon and the interview is being conducted at the Rancho Springs
         Medical Center in Murrieta. And, uh, do I have consent to tape record this
         interview?

    NY: You do.

    DF: Okay. Please state and spell your name for the record.

    NY: Nicole Yadon, N-i-c-o-l-e, Y-a-d-o-n.

    DF: And what is your position?

    NY: I am the Sexual Assault Coordinator.

    DF: And for this hospital?

    NY: Correct

    DF: .And, um, can you briefly describe your job duties?

    NY: Yes, I manage a team of forensic nurses who provide exams on sexual assault
         survivors as well as I perform the exams myself.

    DF: Were you scheduled to perform, or I'm sorry, to participate in a training session at
         the Banning Police Department on July 30, 2015?

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    NY: Yes, each summer we go out to all of the various departments throughout
         Riverside County and provide just an annual, uh, in-service on our services along
         with the Rape Crisis Center.

    DF: And how long have you personally been doing this type of training?

    NY: Six years.

    DF: Okay, and you go to multiple different police departments?

    NY: Correct

    DF: And who were the other people that were there to present training?

    NY: I'm trying to recall, I'm sorry, it's been a while. Uh, there was a nurse from
          county, uh, from Riverside County Regional Medical Center. I can't remember
          exactly which one, I think it was Sharleen Lampkin. And then there was an
          advocate there from the Rape Crisis Center and I can't recall off the top of my
          head who it was.

    DF: And so it was just the three of you?

    NY: Correct

    DF: And when you provide these types of trainings is there typically a representative
          from the DA's office?

    NY: Most of the time.

    DF: This day there wasn't?

    NY: Correct

    DF: Okay

    NY: We've had some trouble getting them scheduled and to come out.

    DF: Okay, and did each of the three of you have a certain segment you were going to
          present?

    NY: Correct

    DF: And, urn, please describe what occurred when you arrived to conduct the training.



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    NY: We were waiting in the lobby, urn, the other people from the advocacy and
           Riverside County were already there when I got there and they had already
           approached the front counter and had told them why we were there. And
           technically, once we tell them that we're there, we do have to wait a little while.
           Um, the officer, and I don't even remember his name, I apologize, urn, it's in my
           email, wherever, I saw that you have that. Urn, the, uh, the officer came out and
           just told us that we had already been there to provide that training just a few
           months ago. Uh, we told him that we had not, that this is an annual training, that
           we had actually been there on Monday of that week but had been canceled
           because there was another event that was taking the officers out of the briefing.
           Briefing had been cancelled for that day. And so he again said no, you guys, you
           guys were just here a few months ago. And again, no, we, we're the only SART
           team within the county and no one has been here, we only do these in the summer.
           Um, anyway, he kind of bantered with us back and forth for a few minutes in
           regards to the fact that we had already been there and we had in fact not. Um, and
           so he, urn, he left and went back into the department and he came back out a few
           minutes later and wanted to know who had scheduled the, the, um, the briefing
           training. And the advocate, I can't remember her name —

     DF: Is the advocate's name Vivian?

     NY: Vivian, thank you. I wanted to say Veronica — thank you, Vivian. Um, Vivian was
           kind of scrolling through her phone trying to look at her emails to see who had set
           up the briefing and whatever, she mentioned, um, I believe it's Diaz, urn, the
           officer then kind of rolled his eyes and huffed and said, urn, that, uh, that that was
           the chief that did that and then, urn, you know, said, hang on a second and then
           went back behind the, um, into the department again and then came back out a
           few minutes later and said, you know, follow me. Just very, he was very rude,
           very abrupt, uh, we were all kind of speechless. Urn, nobody really wanted to, urn,
           talk at that point. So we followed him into the back and once we got to the
           stairway he just pointed at the stairs and he said, it's downstairs. And so at that
            point we, went to, went downstairs and kind of went into the first room that we
           saw that we assumed was the briefing room. There were a couple other officers
            sitting in the room when we got in there. Uh, we all went into the back and kind
            of waited until we were invited to speak. Urn, and it was very uncomfortable. Uh,
            the entire time he was slouched in his chair, kinda kicked back, urn, just very
            annoyed. Urn-

      DF: Okay, I'm gonna stop you for just a second.

      NY: Sure

      DF: Let me just verify a couple things. So, uh, do you recall what time the training
            was scheduled for?

      NY: Oh, my, gosh, we've done so many. Urn, I wanna say three, two, three o'clock.

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    DF: Okay

    NY: Maybe later, I'm sorry, I don't recall, we've done so many.

    DF: That's fine. When you got there how long did you have to wait in the lobby the
          first time?

    NY: Uh, probably 10 minutes I.believe.

    DF: Okay, and then he came, the officer in question came out the first time and then
          that's when he was questioning you about, he was making statements that they
          had just had this training, etcetera?

    NY: Correct

    DF: And you indicated that that same week on Monday, uh, training had been
         scheduled, however, it didn't occur because of an incident that they had?

    NY: Yeah, there was a bomb, a grenade in a mailbox I believe.

    DF: And on that particular day, on that Monday, were you there?

  • NY: Correct

    DF: Okay, and, urn, so you said that Vivian scrolled through her phone and found that
          in fact, urn, Diaz was the one who set up the training?

    NY: Correct

    DF: Do you know Diaz' position?

    NY: He's the Chief.

    DF: Okay, and then, uh, at that point the officer, you said he huffed and rolled his
         eyes?

    NY: Correct

    DF: Okay, did he make any comments about Diaz?

    NY: He just said, that's the Chief.

    DF: Okay, and you said he then left and came back again?

    NY: Right, just a few minutes maybe.



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    DF: And then he said, the second time he continued to question the training?

    NY: No, at that point once he realized that the Chief had scheduled it, nm, and he
         must've went back to confirm I guess, came back out and got us and had us
         follow him and then, like I said, pointed at the stairway and said, you know, it's
         down there, down the stairs. So we went down the stairs, went into the briefing
         room and, you know, like I said, waited until we were invited to speak.

    DF: Now, ura, so you went to, the, got to the lobby, waited a few minutes, he came out
          the first time, then he left and came back a second time.

    NY: Correct

    DF: And the second time was when he let you in and you went down the stairs?

    NY: No, he came out, he bantered with us about the fact that we had already been
         there, um, went into the back, came back out, said, who scheduled it? We said, the
         Chief. That's, you know, when he kinda huffed and rolled his eyes, went into the
         back and then came back out and got us again.

    DF: Okay, so the third time that he came out is in essence when he took you in?

    NY: Correct

   •DF: And you went downstairs?

    NY: Correct

    DF: And, um, you went into what was the briefing room? •

    NY: Correct

    DF: Did you know where to go?

    NY: No

    DF: Had you been there before?

    NY: No

    DF: Uh, you said earlier that you had been there Monday, did you never even get that
          far?

    NY: No


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    DF: Okay, and, um-

    NY: And I believe Erica Swartz was there on Monday. Uh, but like I said, uh, and
         she's the DA, but like I said, she, urn, the training was cancelled because there
         were other things going on.

    DF: And these trainings that you provide, you provide these to various agencies in the
          county?

    NY: Correct

    DF: And generally those are done annually?

    NY: Correct, in the summertime.

    DF: Okay, and —

    NY: They're actually set up by Rape Crisis-

    DF: Right

    NY: -and then we just tag along with them as part of the team.

    DF: Now when the officer led you or showed you, pointed downstairs, uh, did he say
          what room to go into?

    NY: No

    DF: Did he leave you at that point or where was he?

    NY: Urn, you know what? He told us to go downstairs and we went down there, I
         don't know where he went at that point but then he showed up a few moments
         later.

    DF: In the room?

    NY: Correct

    DF: Okay, so in essence no one actually walked you into the room to tell you where to
          go?

    NY: Correct
    DF: Okay



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    NY: Which is extremely, urn, uncommon because every time we're, unless, you know,
           sometimes if it's, if it's somewhere that we were just there a few days ago they'll
           say, okay, you know where you're going, right? Yeah, we've got it. Urn, and then,
           you know, then we'll go on our own but I had never been to this department.

     DF: So in your experience doing these trainings at various agencies does someone
           typically lead you right into where you need to be?

     NY: Exactly.

     DF: And, uh, in your experience doing these trainings when the training is concluded
           does someone normally walk you out?

     NY: Correct

     DF: Okay, and so the room you were in you said it was the briefing room, is that
          correct?

     NY: Correct

     DF: And you said there were a couple of officers in there?

     NY: Correct

     DF: Were they in uniform?

     NY: Yes

     DF: And, urn-

     NY: I believe there was a dispatcher there as well as a, uh, investigator.

     DF: Okay, and the dispatcher was dressed how?

     NY: Urn, I'm gonna say she had on like a polo shirt maybe and —

     DF: Some kind of marked shirt of some sort?

     NY: Yes, yes.

     DF: Okay

     NY: Not a uniform.

     DF: And that was a female you said?


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        NY: Correct

       DF: And then you said there was an investigator?

       NY: Correct

       DF: Was that a male or female?

       NY: A male.

       DF: And dressed how?

       NY: Uh, suit and, or, I'm sorry, dress pants and dress shirt.
       DF: Okay

      NY: And I did have some communication with him, urn, and I'd have to go back
           through my emails to tell you what his name was, um, because he had some
           questions and asked for some follow-up in regards to some, uh, information about
           exams. And so I had emailed him the next day.

      DF: Okay, and so how would you describe your initial, I guess opinion of the officer
            in terms of how the interaction went?

      NY: Urn, I was really thrown back. He was, urn, appeared very annoyed that we were
           there. Um, urn, it was very uncomfortable. We kinda argued in the back quietly
           over who was gonna talk first because nobody wanted to and we do these every
           single summer probably 20 or 30 a year, urn, you know, I mean they're back to
           back to back, and so sometimes we'll do them up to three times a day. So, and I
           have no problem speaking, and at this point, I didn't wanna talk, I didn't even
           want to go up there. It was very, very, very uncomfortable.

     DF: And once you came into the room how long did you wait before your training
          started?

     NY: Uh, just a few minutes.

     DF: Okay, and, uh, earlier you mentioned that the officer in question was sitting there
           slouching or something?

     NY: Correct

     DF: Can you describe specifically what he was doing?




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   NY: Uh, just kinda leaned back in his chair and had his leg kind of kicked up on the
        other leg, urn, seemed very disinterested. Very, his, his whole presentation just
        seemed in my opinion, very, very annoyed.

   DF: And the room you were in, did you eventually go to the front to do the training?

   NY: Correct

   DF: Did the three of you go up individually?

   NY: Correct

   DF: And were you facing the group?

   NY: Yes

   DF: And so there were, uh, the officer in question and then two additional uniformed
         officers?

   NY: Urn, I think by then they were kind of trickling in-

    DF: Okay

   NY: And I wanna say by the time we were done there were probably upwards of 10
        people in the room.

    DF: Total?

    NY: Yeah

    DF: Okay, and were you facing them?

    NY: Correct

    DF: And where was the officer in question sitting?

    NY: Urn, so the room has., um, like round, um, I believe like round, like rows of round
          tables, very long tables. Um, and, uh, when you're standing up facing them he
          was gonna be on the right, kind of the end of maybe the second row.

    DF: Okay, and did you form any opinions as to whether or not he was a supervisor or
          he was in charge of the, of what was going on?

    NY: At that point I didn't know, oh, it wasn't until the next day when I had
         communication with the investigator, urn, that I believe he said he was maybe a
         sergeant.

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    DF: Okay

    NY: I think.

    DF: And so how long did the training last?

    NY: Urn, maybe 10 or 15 minutes tops.

    DF: And, urn —

    NY: Which is about average.

    DF: Okay, that was my next question. So that's about average?

    NY: Correct

     DF: And once the training was concluded, what happened?

    NY: Uh, once it was finished the investigator had asked me a couple questions, urn, in
          regards to some information that he needed and then, urn, the, uh, the officer in
          question, um, urn, I'm trying to recall — I don't remember what the exact
          statement was but basically we, we let ourselves out. So we went back upstairs
          and we kind of roamed through the department because we didn't know how to
          get out, there wasn't really a clearly marked exit. Urn, none of us had been to that
          agency in the past —

     DF: None of the three of you had ever been there?

     NY: Nah, uh, no.

     DF: Okay

     NY: I, I don't think the girls had. I don't want to speak for them but I don't think so
            because nobody knew how to get out so we kinda roamed our way out of the
            department.

     DF: So did the officer in question say anything to you when the training was
          concluded?

     NY: I don't recall.

     DF: Okay

     NY: I don't wanna make something up.


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   DF: But the officer in question clearly did not walk you out?

   NY: Not at all.

   DF: And no one else walked you out?

   NY: No

    DF: Did anyone offer to walk you out?

   NY: No

    DF: Okay, so you had to walk around a bit before you figured out how to get out?

    NY: Correct

    DF: Okay, and, urn, so when you were finished did you go outside with the other two?

    NY: Correct

    DF: Was there any conversation about what had occurred?

    NY: Um, yeah, we couldn't get out of there quick enough and afterwards we were all
         just very thrown back at the experience in and of itself, urn, and there's kind of
         some brief discussion about, like, wow, like I don't even know what just
         happened. Um, but when I had emailed the investigator the following day, urn,
         you know, I had asked him, and I don't remember exactly what the words was but
         like kinda what was that guy's problem, you know, he was extremely rude. And
         he basically just said that, oh, he just got back from a trip to Vegas or something
         and had gotten there late that day and so he was just kind of annoyed in general
         and for us, you know, for me to not take it personal.

    DF: And you said that you've been doing these types of trainings for about six years?

    NY: Correct

    DF: And you do them all over the county?

    NY: Correct

    DF: And you do —

    NY: I've only done them in California for three years but previously I was in Illinois. I
           did them there as well.



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    DF: Okay, so it's safe to say you've been doing similar type training sessions for six
          years?

    NY: Correct

    DF: And in terms of Southern California and Riverside County in particular, have you
          ever had an experience like this with an officer?

    NY: Never

    DF: So if you could just give me an overview of what your concerns were with regard
          to that officer that day.

    NY: I was just, I was, I was shocked that we were so unwelcomed by him. Now, the
          other people in the room, several of them had very valid questions, engaged in the
           dialog, um, you know? A lot of times we'll do these trainings and you can tell that
          there's specific officers that aren't really interested and that's fine and if they
          want to be quiet and sit to themselves, that's not a big deal. But typically the
           person who greets us is, urn, is, is very friendly, urn, shows us where to go, shows
           us the way out, urn, and makes it clear to the group that, you know, we, urn, that,
           you know, that they need to pay attention to us, that this is very important training
           for them. Um, I just felt extremely unwelcomed, um, uh, very uncomfortable. And
           I can talk to anybody about anything and I didn't even want to speak because it
           was like, it was like you could hear a pin drop in the room. There was so much
           tension from him, you know, it, it was, it was very uncomfortable.

    DF: And as you said you didn't have any negative interactions with anyone else there
          that day?

    NY: No

    DF: Okay. Would it be accurate to say than that based on the officer's attitude you
        • didn't really feel like giving the training there?

    NY: Absolutely.

    DF: Did you report the situation to anyone here at your employment?

    NY: Urn, I don't believe so.

     DF: Okay. After the training, you said you spoke to the other two. Uh, after that time,
           did you speak to anyone else about the situation?

    NY: I spoke to Debora Heaps-

     DF: Okay

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    NY: She's the Program Director at Riverside or at uh, urn, Rape. Crisis in Riverside.

    DF: Ri.ght

    NY: Urn, and I spoke to Gloria Davis and she's the Program Manager at Riverside
         County Regional at their SART program.

    DF: And so one of the presenters that day was someone that works for her?

    NY: For Debora.

    DF: Yeah

    NY: Correct

    DF: And Gloria, correct?

    NY: Yes

    DF: Okay. Did you send an email to Banning Police Department on August 3, 2015, in
          which you expressed your complaints about what occurred that day?

    NY: I did sent an email, I don't recall the date but I assume that's accurate.

    DF: Yeah, I'm gonna show you a copy, and obviously, it's just from, from this point
          down. If you could just look at that and I'd just like you to verify that that appears
          to be a copy of the email you sent.

   . NY: Correct

    DF: Does that appear to be a true copy?

    NY: Yes

     DF: Okay, and, uh, with regard to that email, did you cc Debora Heaps in that email to
           your recollection?

    NY: I believe I did.

     DF: Okay, and as you said she's the Program Director for the Riverside Area Rape
           Crisis Center?
     NY: Correct



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    DF: After you sent that email did you have any further conversations with anyone
          regarding this situation?

    NY: I don't recall.

   • DF: Did you ever speak to Chief Diaz' assistant?

    NY: Oh, yes, I'm sorry, yes.

    DF: Okay, and her name is Danielle, is that right? You don't recall?

    NY: I don't recall..

    DF: Okay. What was that conversation about?

    NY: I believe that she had indicated that she was gonna forward the email or forward
           the complaint to him, um, and then he ended up calling me directly.

    DF: Okay, was it, what was that conversation about?

    NY: Urn, he just wanted to let me know that my concerns were gonna be addressed
          and that, urn, that this officer has been a perpetual problem and that he wanted me
         to understand that, urn, that this was not going to just be pushed under the table,
         that he was going to take care of the situation and that this was completely
          unacceptable.

    DF: And it looks like from the correspondence that I have that your conversation with
          Danielle, the Chiefs assistant, occurred on August 12th• Does that sound about
          right?

    NY: Yeah, there was a bit of a delay.

    DF: Okay

    NY: I think he was out or she was out or, I don't know.

     DF: And did you speak to the Chief that same day?

     NY: I don't recall.

     DF: Okay. Other than those conversations did you have any further involvement with
           the situation?

     NY: No
     DF: Okay, is there anything else you'd like to add?

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                        BANNING POLICE DEPARTMENT


                               INTERVIEW WITH
                                 STEVE HOBB


                               INTERVIEWED BY
                                 DAVID FLUTTS


                       ADMINISTRATIVE INVESTIGATION
                               RCS 42015-044


                          OCTOBER 30, 2015 @ 9:55 AM




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    RCS Investigations and Consulting #:550

    Steve Hobb                                 (SH)
    Police Corporal
    Banning Police Department

    Robert Baumann                             (RB)
    Attorney
    Representative for Steve Hobb


    DF: Today's date is October 30, 2015, the time is 9:55 a.m. This interview is being
          conducted at the Banning City Hall. My name is David Flutts, I'm a private
          investigator from RCS Investigations retained on behalf of the City of Banning to
          conduct this investigation. I am the authorized designee assigned to investigate
          this matter. Corporal Steve Hobb, his representative an. attorney, Robert
          Baumann, and I are the only persons present during this interview. Mr. Baumann,
          would you please identify yourself for the record?

    RB: Yes, representative for Corporal Hobb, Robert, last name Baumann, B-a-u-m-a-n-
          n.

    DF: Thank you. The City of Banning is conducting an administrative investigation
          into allegations of misconduct against Corporal Hobb. It was alleged Corporal
          Hobb was discourteous and unprofessional to members of the Riverside County
          Sexual Abuse Response Team when they were at the department to present
          training on July 30, 2015. The RCS case number for this investigation is 2015-
          044 and the Banning Police Department IA number is 15-04.

           The nature of the allegations is such that you are deemed the subject employee of
           this investigation. I have been authorized to communicate an order from Chief
           Diaz that you are admonished to answer all questions asked of you completely
           and that all of your answers are to be truthful. Knowingly making false or
           misleading statements during this interview will be considered a separate
           violation that could result in discipline up to and including dismissal. Do you
           understand this admonishment?

    SH: Yes, I do.

    DF: I will now advise you of your rights under the Public Safety Officers' Procedural
           Bill of Rights as outlined in the California Government Code: You have the right
           to have a representative of your choice with you during this interview and you
           have chosen to exercise that right, correct?

    SH: Yes

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    DF: This interview is being recorded. You have the right to make your own recording
          of any and all aspects of this interview and you are, choosing to record this
          interview, is that correct?

    SH: Yes

    DF: You will, have access to the department's recording of your interview if any
         further proceedings are contemplated or prior to any further interrogation at a
         subsequent time. There will be no more than two persons questioning you and for
         this .interview I will be the only person asking you questions. If this interview is
         taking place during your off-duty time you will compensated in accordance with
         regular department procedures and you will not be released from employment for
         any time missed. This interview session will be for a reasonable period of time
         based on all the circumstances. Please advise me if you need to take a break
         during this interview. At no time will you be threatened with punitive action or
         promised any type of reward or inducement. No offensive language will be used
          during the course of this interview. You will not be subject to a visit by the press
          or news media without your expressed consent. Do you wish to give your
          expressed consent for such release?

    SH: No

    DF: Neither your home address nor photograph will be given to the press or news
          media without your expressed consent. Do you wish to give such expressed
          consent?

    SH: No

    DF: Do you fully understand what I have said so far?

    SH: Yes

    DF: Are you under the influence of any medication, drugs, or alcohol which may
          impair your ability to participate in this interview?

    SH: No

    DF: Do you have any physical, mental, or emotional disability which may impair your
          ability to participate in this interview?

     SH: No

    DF: Do you have any questions before we begin?

     SH: I do not.

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    DF: As the authorized designee of Chief Diaz I am now ordering you to answer all
          questions completely and truthfully, do you understand?

    SH: Yes

    DF: Please state and spell your name for the record.

    SH: Steve Hobb, S-t-e-v-e, Hobb, H-o-b-b.

    DF: What is your current assignment and how long have you been at the department?

    SH: I'm a Police Corporal assigned to Patrol, been working for the Banning Police
           Department for 10 and a half months. I'm sorry, 10 and a half years.

    DF: Years

    RB: I was gonna say, I was like, I'm pretty sure it's longer than that.

    DF: On July 30, 2015, what was your assignment?

     SH: I was the Watch Commander for Patrol Team-3.

    DF: And what were your work hours that day?

     SH: 1600 till 04 the following day.

     DF: Okay. At some point did you become aware members of the SART team were
           present to provide briefing training?

     SH: Yes, I did.

     DF: How did you become aware of that?

     SH: I was in briefing and one of the records personnel, a female, came down and
            advised me that there was some people upstairs.

     DF: And, um, did you have previous knowledge that training was going to occur that
           day?

     SH: I did from an email but I forgot about it.

     DF: Okay, who was that email from?

     SH: I think it was from Sergeant Fisher.


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    DF: Okay, and what was the extent of that email if you recall?

    SH: Uh, I don't know when it was dated or when he sent it out but it was something, it
          was saying that the SART team was coming for briefing training.

    DF: Okay, and did the, to your recollection did that email include a day and time that
          they were scheduled?

    SH: Yes, it did.

    DF: And did you eventually go up to the lobby and meet with the SART personnel?

    SH: Yes, I did.

    DF: And, urn, how much time passed from the time you were told by the records
         person that, until you went up to the lobby and met with them?

    SH: Maybe five minutes.

    DF: Okay, and you said earlier that briefing had already started?

    SH: Yes

    DF: And in your position as the Watch Commander for that team, were you the person
          that was conducting briefing?

    SH: Yes

    DF: To your recollection was there any other additional or special training that was
   •      going on that day?

    SH: No

    DF: When you went up to the lobby and met with or I'm sorry, - Uh, when you went
         up to the lobby, uh, how many of the SART personnel were there?

    SH: Three

    DF: And were they females?

    SH: Yes

    DF: And, uh, when you met them in the lobby, uh, did you ask them, "What are you
          guys doing here?" — Or anything similar to that?

    SH: No

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    DF: What was your, how did you greet them if you recall?

    SH: From my recollection it was — I already knew they were SART because the
          records personnel told me that; I knew they were already there for training
          because she told me they were here for training. Urn, I went up there, I'm like, uh,
          you know, I might've said that, like, what are you, what are you, what are you
          doing here? That doesn't sound like the appropriate question to ask right off the
          bat so I can't see myself asking that. Urn, cause that sounds rude to ask that
          question, what are you doing here?

    DF: Okay

    SH: Urn, honestly I couldn't tell you what I said. It wasn't, it wasn't something along
          those lines.

    DF: Alright. Urn, at any point during that initial interaction with them did you tell
          them that the department had just had that same training a few months prior to
          that?

    SH: Yes

    DF: Okay, and what did you base that on?

    SH: My personal knowledge, remembering the training, and my officers before I
         walked upstairs they, they commented, we just had this training.

    DF: Okay, and, urn, so when you had started briefing that day and the records person,
          did they call to briefing or did they physically come in and tell you?

    SH: They walked down and physically told me.

    DF: Okay, and did they tell you in the presence of the officers that were present?

    SH: Yes

    DF: Okay, and, um, in your experience at Banning PD, this specific training, is that
          something that occurs on an annual basis, on a regular basis, or do you know?

    SH: We usually, I don't know if there's a set schedule, it's usually once a year.

    DF: Okay, and so not only did the officers mention that they had, we had just had that
          but your own recollection was that you had just had that some recent time?

     SH: Yes




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    DF: Okay, and what if any response did any of them have .when you said that you had
          just had this training?

    SH: Urn, one of the females said, uh, well that's impossible, we're the only ones that
          do the training and we haven't been here in over a year.

    DF: Okay, and what if any response did you have to that?

     SH: I was, replied that well, I remember having it and so do my officers. And then she
            responded, one of them responded, well, your chief scheduled us to be here.

     DF: Okay. Now let me ask you this — Was there, of the three ladies that were there,
           was there one that was, that you were interacting with or were they all answering
           questions? Do you know?

     SH: I believe it was one. It might've been, might've been a second chimed in and said
            something.

     DF: Okay, and you already partially answered this but did you ask them specifically
           who had set up the training?

     SH: I did not ask them, uh, she, one of the females responded with, well, your chief set
            up this training.

     DF: Okay. At any point did you see any of the three looking at a phone, like looking
           for reference or checking some device to check on who had set up the training or
           anything like that?

     SH: No

     DF: Did you see any of the three grabbing a phone and doing anything like looking at
           anything?

     SH: No

     DF: At any point during your conversation with the three women did you ever refer to,
           urn, Chief Diaz as a sergeant?

     SH: I don't recall.

     DF: Is that something that sounds like something you might have said?

     SH: If I did, if, if I said that it was a total slip and that would be disrespectful and I
            wouldn't say that.



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    DF: Okay. When one of the women indicated that Chief Diaz had arranged the
         training did you, at any point did you visibly role your eyes to them?

    SH: Huh, I don't recall, um, rolling my eyes. Could I have? I'm not saying I didn't but
          I don't recall rolling my eyes. Urn, I don't recall doing that.

    DF: Okay. Um, describe if you would what your, I mean, what, when you were told
          Chief Diaz had set up the training did you have any, what was your thought
          process? Did you have any reaction to that?

    SH: Once, once she said that, once she said that the chief set it up I said, well, let's go
          down and do it. Let's go down and do it, urn, can you speed up the process though
          because we got calls pending. And she said, not a problem.

    DF: Okay, and, urn, you said earlier that you had had that particular training in the
          past, is that right?

    SH: Yes

    DF: And how long does that training typically last?

    SH: Depends on questioning, it could go, there's three of them, there's usually a
         SART nurse, there's a rape crisis advocate — there's usually two or — and then
         there's a supervisor and they all take turns speaking so it could take, it could take
         a half hour.

    DF: And, urn, that particular day, urn, you mentioned there were calls pending, is that
          correct?

    SH: Yes

    DF: Do you specifically recall that?

    SH: Yes

    DF: Okay, and how long does your briefing typically last on a typical day when you
         •don't have any outside training or anything extra?

    SH: Well it depends if I'm doing training, I'll do my own training. Um, sometimes it,
         if there's calls pending, we just, we clear and we go. There's times where we
         don't even go through the, the shift before us, calls for service and go over that.
         Urn, so it varies. It could be, let's go, we've got calls pending cause I already get
         a hand-me-down, a hand-down, a pass-down from the sergeant prior to briefing so
         I already know the major incidents and if I have to pass those I will. But for the
         most, I mean, sometimes it's, there's no briefing and we'll come back to it later or


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           sometimes it could be a half hour, sometimes it can be an hour depending on what
           I wanna train the guys on and bring up.

    DF: Okay, and you said that typically, is it your typical practice to having the previous
          incidents from the previous shift in your hands or whatever, do you typically pass
          those on if you have time?

    SH: Yes

    DF: Okay, and how many, on that particular shift how many officers are on-duty?

    SH: On that day? I think it was two and they had a trainee maybe.

    DF: Okay, is that a typical deployment on that shift?

    SH: I think now it's up to three.

    DF: Three plus a supervisor?

    SH: Yes

    DF:    Okay. At any point after you were told that Chief Diaz had arranged the training
           did you audibly sigh at any point to any of these people, any of these three
           women?

    SH: I'm, I could've sighed, I could've sighed.

    DF: Did you at any point, uh, did you tell any of the SART members you didn't have
          time for this training?

    SH: No

    DF: After your initial contact with them in the lobby area did you go back inside, uh,
          and then come back out again •a few minutes later?

    SH: I don't recall. I recall once I walked out and greeted 'em, we talked, they followed
           us downstairs.

    DF: When you say us, who do you, who's us?

    SH: Well, followed me.

    DF: Okay, so, urn, at any point after you were told that Diaz set up, Chief Diaz set up
          the training did you ever, did you do anything to try and confirm that? Did you go
          call someone or anything like that? Did you make, did you do anything to verify
          that Chief Diaz had set up that training?

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    SH: No.

    DF: So at the time you were told by the records person that the SART team members
          were in the lobby how far into briefing were you if you recall?

    SH: It was like right at the beginning, there was still dayshift guys mingling around
           and then, uh, when she told me I recall seeing the detectives start walking in so
           they were down there for the same training.

    DF: Okay. So along with the patrol officers there were detectives that were there for
          the training?

    SH: Yes

    DF: Did you tell them about the training or did they know about it ahead of time, if
          you know?

    SH: I'm pretty sure, I'm a hundred percent sure more than likely they knew about it
           cause Sergeant Arretche probably had it on his calendar cause he was there.

    DF: Okay, and what's his name again? Sergeant -?

     SH: Sergeant Arretche.

    DF: How do you spell that?

     SH: A-r-r-e-t-c-h-e

    DF: Is he a, was he at that time the Detective Sergeant?

     SH: Yes

    DF:     Is he still in that position?

     SH: As far as I know.

    DF: After the training was completed by the SART members did you finish patrol
          briefing or was that the end of briefing?

     SH: Uh, I think as soon as the training was done we went 10-8.

     DF: Okay, and, um, on this specific day do you recall how long the training took?
          How long it lasted? .

     SH: She did it really fast, like it was five maybe 10 minutes.

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    DF: Did all three of the people that were present have some participation in the
         training?

    SH: I believe so.

    DF: And you said earlier you were the Watch Commander so you were the one
         conducting the briefing?

    SH: Yes

    DF: And is that normally part of your duties as a Watch Commander?

    SH: Yes

    DF: And, urn, you said that you had them follow you in eventually, is that correct?
          Once you took them into the briefing area?

    SH: Yes

    DF: Did you physically lead them to where the briefing room is?

    SH: Yes

    DF: Where is the briefing room in relation to the lobby?

    SH: Uh, you go through the lobby door past records, hang a right, go down the stairs,
          down the main hallway, go left and then right, right into briefing.

    DF: So the briefing room is downstairs from the lobby?

    SH: Yes

    DF: Were you annoyed or angry that the SART members were there that day?

    SH: Uh, annoyed, angry, maybe irritated.

    DF: But not annoyed or angry?

    SH: No

    DF: Okay

    SH: I wasn't irritated that they were there, I was irritated that we had calls and we
          already had this training and we had to do it again.


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    DF: And you said earlier that you thought that that SART training or, correct me if I'm
          wrong but I think you said you thought it was annual training from that particular
          group?

    SH: It's roughly, I can't — it's roughly, we get it about every year, we have somebody
            come in.

    DF: Okay

    SH: And I don't know if it's a set schedule, I don't think it is. It's the same training,
          they pass the same information.

    DF: And, urn, so that day you said you thought there were two patrol officers and
          possibly a trainee?

    SH: Uh, huh — yes.

    DF: Is that right?

    SH: Yes

    DF: And then how many detectives? If you remember.

    SH: Uh, I remember Sergeant Arretche, maybe, maybe Detective Segura, S-e-g-u-r-a,
          and maybe Detective Nolan, N-o-l-a-n. I don't know if Detective Bennett was
          there or not.

    DF: Bennett?

    SH:    Bennett, B-e-n-n-e-t-t.

    DF: And were there any other employees besides the patrol officers, uh, yourself and
          the detectives?

    SH: Uh, I think dayshift stuck around.

    DF: Dayshift patrol officers?

    SH: Dayshift patrol.

    DF: Where were you seated during the training?

    SH: Urn, I was right in the front row, far left corner right in the front.
    DF: Far left from when you walk in or -?


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    SH: When you walk in, first seat.

    DF: On the left side?

    SH: On the right side.

    DF: On the right as you walk in?

    SH: Uh, huh

    DF: Is that your normal position?

    SH: Yes

    DF: And is that the position you conduct briefing from typically?

    SH: Uh, unless I'm doing something on the computer and I got the Power Point.

    DF: Is there a different station where the computer, is that located at some different-?

    SH: It's a podium.

    DF: Okay, you can control the computer and the screen from the podium?

    SIT: Yes

    DF: Do you recall while the training was going on if you repeatedly looked at your
          watch?

    SH: I don't wear a watch.

    DF: Did you wear one that day?

    SH: No

    DF: You don't typically wear a watch?

    SH: (inaudible)

    DF: When the training was done you said it took around five minutes or so, urn, did
         you tell them where to exit or how did they exit if you know?

     SH: Uh, I don't know, I didn't walk with them.

     DF: Did you have someone else tell them where to go or do you know?


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    SH: Huh, I think Sergeant Arretche might've walked with them out.

    DF: Okay, but you're not a hundred percent sure that he did?

    SH: Not a hundred — uh, it wasn't me.

    DF: Okay, did you ask anyone to escort them out?

    SH: No, because I, they, I think they were answering questions when me and the
         patrol guys cleared. I think they were still answering questions to people that were
         still lingering around.

    DF: Okay, so you and the patrol officers from your team eventually went to go in-
          service?

    SH: I think so, yes.

    DF: Okay. After your initial interaction with the SART members in the lobby did you
          have any further verbal interaction with any of them?

    SH: Um, not that I recall.

    DF: At any point that day' during your interactions with them were you discourteous or
           rude to any of them?

    SH: I don't believe so.

    DF: In your opinion were you professional in your interactions with the SART
          members that day?

    SH:    Yes, all, all — yes.

    DF: You started to say all, what, something else?

    SH: No. Yes.

    DF: Is there anything else that you recall about your interactions with them that day?

    SH: No

    DF: Is there anything else you'd like to add?

    SH: No
    DF: Mr. Baumann, is there anything you'd like to add?


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    RB: Yeah, I just wanna ask one question. Did you, do you remember receiving
         notification that the SART members were gonna be there on that particular day?

    SH: I, I found an email afterwards and I had already read it so I knew, I read it before
            the meeting. Before the, I had read it when the email came out but I forgot about
            it. I, I forget how far in advance it was.

    RB: Do you know or recall how many pending calls there were at the time they
         showed up?

    SH: I do not know, rather, not recall.

    RB: Okay, that was it.

    DF: Alright, I don't have any further questions at this time. We're gonna go ahead and
          conclude the interview, it's about 10:15 a.m., October 30, 2015.




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    To the best of my knowledge and ability, the above transcript is a true and accurate
    transcription of the recorded interview of Steve Hobb by RCS Investigations and
    Consulting LLC, transcribed by Karyn Flutts for the Banning Police Department.




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                              EXHIBIT L




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                          BPD 15-04 / RCS 2015-044 (EXHIBIT L)
                                 Compact Disc -Audio recordings of witness statements
                                          and subject employee Interview.




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                                Compact
                                     BPDDisc15-04 / RCS2015-044 (EXHIBIT L)
                                              -Audio recordings of witness statements
                                          and sub ect employee interview.




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